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Exhibit 26

 
’ Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 3 of 85 Page ID #:382

 

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Vinazari, Abu !
Na} 1, Farhad |

Tiqmazyom, Zhas meu !
Vadua , vere Gal STUY

Lunch

 

(CERTAIN

4100 Coast HiGHway ONE.

HALF Moon Bay, CaALirornia 94019
Ter 650.712.0220 - Fax 650.712.0693
RESERVATIONS 800.315.9366

WWW BEACH -HOUSE.COM

L300 THE STRAND

HERMOSA BREACH, CaLirornia 90254
Tet 310.374.3001 - Fax 310.372.2115
RESERVATIONS 888.895.4559

WWW BEACH-lHOUSE.COM

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 4 of 85 Page ID #:383

Exhibit 27

 
Case 2:16-cv-06997-RGK-RAO Document 1-4

Tama Ness(e—

Real Food Daily
414 N, La Cienega Blvd
Los Angeles, Ca 90048

310-289-9910

Server: Jake DOB: 03/26/2013
01:21 PH 03/26/2013
Table 13/1 4/40005
Amex 4194310

Card #XXXXXXXXXXX6006
Magnetic card present: DAMAVANDI B

Approval: 573916
Amount: $ 56.63

+ Tip: lo —

= Total: ub 63

X ( \—_——————

*#xGuest Copy**

Filed 09/16/16" Page 5 of 85° Page ID’ #:384 "7

’ Server: Jake 03/26/2013
Table 13/1 1:20 PH
Guests: 2 . 40005
Nachos 14,50

$add taco mix
Hot Kukicha 3,95
Cold Kukicha 3,95
Pro Kale 12.95
Sd/Pico Gallo Sm] 0,95
Americano 2.75
Cobbler/Crisp 5,95
Power C 6,95
Subtotal 51.95
Tax 4,68
Total 56,63
Balance Due 56.63

Tawa Nessce—

Aveda ungitt? °

Rea! Food Dajly
414 N. La Cienega Blvd
Los Angeles, Ca 90048

310-289-9910

Real Food Daj ly
LARGO PATRONS
Bring your tickets to receive
$5 off each $25 spent,
Geod only on the night of the show
ww. real food, com/310-289-9910

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 6 of 85 Page ID #:385

Exhibit 28

 
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Case 2:16-cv-06997-RGK-RAO ~ Doctiiiérit 1-4 “Filed 09/16/16 “Page 7 of 85° Page 1D'#:38
al , .

FRESH CORN GRILL
8714 SANTA MONICA BLYD #100
WEST HOLLYWOOD, CA go0g9

= IOLEYAOOD
BESTROOD WEST BOLT, OD
1510 Westucod Bl. 8714 Santa Monica 568
Los Angeles CA $0024 West Hollywood CA 96°

 

 

- TEL:(310)855-9599 . ‘ : 310-955-9502
320-870-0414 4 Sa
320-879-0515 (F} 310-855-9604 (¥)
HC #03 www. fresheorerill. com
REG CO1 03-20-2013 11:14 AN 111197
rr
ORDER# 111137
CATERING $120.00 T1 Damavand;
«TOGO: + $0.00
TOGO: + $0.00
wes TOGQ+ + $0.00 —————____
+++ -TOGQ---- $0.00 . wen. .
TAI $120.00 <|3 Time neaded:
1X1 $10.80
TL $130.80
CASH $130.80 | 6 | ; |
OPEN HOURS: DAILY + 11:30AM-10pM oe Cheug
THANK YoU 1 \
HAVE A NICE Day 1 AX 2. Calimon ABBQ

- Con! uch -
~ Broccol, |

— Potato

“Bread.

~Desse(+-

— Danks

~ Set+- UP

Total Due : 130. BO
C.C# : exp

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 “Page 8 of 85 Page ID #:387

Exhibit 29

 
i teso 9- Ja fd san)
Marcie Salce &

nitoa, MEPeke) Meo

 

TEA DEMAVANDI
211 N
PRAIRIE
HIZS
INGLEWOOD
2102482

TUE MARCH 12,2013
°* CHECK #156719~-1

{ MISC. ROTISSERIE MEA $237.50

DELIVERY : $1.50
TAX : £94 38
TOTAL. BRE sts
Time: Fis

DR Paid
LNJOY !

Yuu HAVE BEEN SERVED:
BY : Manager 10

GELIVERY #122

AMERICAN EXPRE: $260.38
wR AEB OOG

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 10 0f 85 Page ID #:389

Exhibit 30

 
390

16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 11 o0f 85 Page ID #:

Case 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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GETLESPOOUXD) SE°TT LSEE-9b006 VI STZDNY SO? GATE LASNNS M GTEZ €6 dVa7 VAL 8 NV38 334409 €6 JV3T V3 8 NVI 334403 SIWO9H| TT02/8t/Tt DIGNVAVINVG V1V35| 9T8Zce
GETLESPOOUXD) 00° BP006 VO SISDNY SO7 OY SNUNd JDYOSD § GET 952 101 AYV¥d V1dO ALID SJTSONY SO14O ALID Uvd|TtO?/ZT/tT DJGNVAVWVG VLV38/STSZEe
ZOZ6PSVOOUXD| OO'EPT 82006 VD SITJONV S01 LS ANIA O98T ADVUOLS JovdS VULXI ZSE0 NI LNSINJOVNVW 30VdS VuLXa DLS| TtO¢/Pt/Tt SIONVAVIVG VLv3a8|STS8ZeE
ZOCEYSPOONXD| 6S°SET 80TP-8£006 VD SATSDNV SOT GATE SLNZDIA NVS S$ OOP: svaav HVHS SVas¥ HVHS TINDIH| T10z/z/Tt SIONVAVINVG Viva8 /ST8ZeE
9E°STT €O9E-LT206 VI STIIH ATU3AIG GATE NOSLYAGOY S Eby, ONIYALYD OGAYSTV INI ONINALVD OO3us IV 2t0%/b7/6 SI|GNVAVIAVG VLv38]9TSZEE
aso T6LE-SE006 VD SATJONY SOT 2ET 31S 1S GUE M EEES: SuBWuvd £229 SHONGUVIS SHAW L225 SHINGUVIS et07/S/oT BIONVAVINVG V.iva8 | ST8ZE€
€9°2L O€G2-TTZO6 VO STIIH ATHSARG OOT # GATE AYIHSTIM 0298; BdVO S HAONVX3TV NI NIALHOY zt07¢/s¢/6 SIGNVAVINVG Vivd8|STaZeg
Set 87006 VD SISDNV SOT QU SNUNG SOHO S GET 992 LOT ABVd V1d0 ALID SATSONV SOTO ALID CLOZ/L2/6 GIONVAVINVO Viva |STSZEe
bS'STT €09E-TTZO6 VO STHIK ATNFARS GATS NGSLUAGOE S Evy ONIN3LVD OGIYATV ONI ONINZLVD O0FuIIV 2t07¢/9T/ot SONVAVIV Vivid ISTSZee
OL°Z8T £09E-TT206 V2 STUIH ATUSARG GATE NOSLUIEOH S Eby! ONTURLYD OGAHSTY INI ONINALVO OGausIV, zt07¢/9z/ot SJONVAYWYd VLva8 ;STSZee
oo'T 82006 VO SASONV SOT GATS ATHIANG 0058; 98% U3LN3D ATHIAG | SINSLSAS ONIYVd WHLNID @t0z/ot/ot SIONVAVWVG Viva [ST8ZeE
L£9°LT LOTY-8P006 VO STIZONV SOT CA18 SINISIA NVS S O8F ASVH INVUNVISAY NOISIA SNMdS 2102/pz/OT SONVAVINVG ViV38 | STSZEE
6E°vET ZBOE-BBSHE VO NOLNVSVald Hd GOOM3SOY O29 Vd OW VBL OTT ALTIGOW L81V) et02/S/ot BIONVAVINVG V1V38 |STBZEE
Bye CETC-SEO0S VO SAIZONV SOT GATE ATHSAZE SZBZ| ¥YaXOUS 79O9VA FHL ITT STIDVE SATIS t02/TZ/6 SIGNVAVINVG Vivae | STSZeE
00'z 8006 V3 STADNV SOT GY SNUNG 3DHOID S GET 952 LOTNYVd V140 ALID SATSONY SO1A0 ALID 2t0e/b/ot GJANVAVIAVG WLva8|ST8Zee
pete LOT?-8006 V) S3TADNV SO1 GATE JINSDIA NVS S 08, NYVH INVENViSaY NOISIA SNINdS ct0z/b/oT SONVAVIAVG VLV38/ST8ZEE
O9°bT 8ZTS-9P006 VD GOCMATIOH 1S3M ZOT 31S GATS VOINOW VINVS TO6L 2TS9 SHINUVIS CESS SHINSUVIS 2102/6T/OT BONVAVINVG Vivae 1ST8ZEe
sorte TOEE-TTZOG VO STH ATH3A3d GATE VOSNRID VIS Sb7 8SLS# SHONGUVLS SSZSH SHONGUVIS z102/sz/or BONVAVINV ViLV3d | STBZEE
beet 9799-9t006 VY GOOMATION 153M GATE VIINOW VINVS POEL O¥0 SIOf HAGVUL OF0 SIOF YSQVEL ct0z/pz/ot BIONVAVINVG Viva | 9TRZEE
SPST €08T-8h006 VD COOMATION LSaM GATE AlY3A38 £628 8b dVAT Val 8 NVAd 354409 By dVv41 Val 3 NVAd 334303 ct0z/0t/ot BIONVAVINVG VLV38 | STRZEE
00°OS 80TP-87006 V2 STIZDNY SO1 GATE ALN3DIA NVS § COP! SVaaV HVHS SVaav HVHS 2toz/zz/ot GlGNVAVINVG Vivid |STaZee
o0'c 8/006 V3 STADNV SOT GY SNEND FDU S GET 952 LOT MHVd V1 dO ALID SAIZONV SOT dO ALID tt0z/z/ot S)ONVAVWYVG VLVA8/STBZEE
Sz’O 8b006 VO STZDNV SO1 GY SNUNB 3DUOIO S GET 9S¢ LO1 AuVd V1d0 ALID SITISONY SO1IO ALID 2T02/or/ot B|ONVAVWVd Vivae | 9T8Zee
o0'c 87006 V2 STADNY SO1 GH SNUNA FDOT S GET! 9SZ LOTAYVd V140 ALID SATZDNV S070 ALID et0z/87/6 S|ONVAVIVG Viva | 9T8ZEE
SO'TEL STST-9EPTE VD ONION] OATS VENLNIA OTS9T VI908 ON LNVUNVLS3H IIA 2102/84 /0T BIGNVAVIAVG ViV38 | STBLEE
00°6 yOOP. XO ATIASATLUVE YATRA S 024 VD 9£ NOIND ANVdINO3 99 SdITIHd 210e/tz/6 SIONVAVIAVG V1V34/9T8ZEE
Q0°OST 9E006 V3 SAISON SOT ‘UD SAUD HLNOS ETT HOLS STIS LEAVIN SHAWHVS IT1 ZS TING SYOWND etoz/2/ot SIONVAVAVG VLV39 | ST8ZE€
OZ’9T 2067-8006 V2 GOOMATIOH LS3M GATE VOIN3ID VEN bb OH3M/ATVO GOOS Twa INI GAY ZL02/Ct/or BIGNVAVINVG Viva8 |STBZEE
oo'e 87006 YO STADNV SO1 GY SNUNG 3DHO3D S GET 9S¢ LOT RUVd V1 SO ALI SATFONY SOTIO ALID tt02/pz/OT HONVAVIAVG Viva | ST8Zee
00°cT 86006 V2 SATADNY SO? OOTH "CATE SHIHSTIM 1229 “ONE ADWWUVHd WON ONT ADVAUVHd WAN etoz/ve/6 S/ONVAVANVG Vivae | ST8Zee
Oo'e 8P006 VO S3TSDNV SO1 GATE A1H3ASE 0058 98% YALNAD ATMIARE | SIWALSAS ONIXHVd WWHLN3D eroz/tt/ot A ONVAVAVG VV | STEZEE
BO°CET €09E-TTZ06 V3 STIIH ATHFAIG GAIS NOSLUREOU S Evy, ONIYSLVD OGSUTV INI ONIMALVD OGAYus1V' etoz/st/or GIONVAVINVG Vivag | STBZE€
4B] OT72O6 VO STHH ATHSAR8 GATS VIINOW VINYS TOS6) STUH ATHZARG Jd ININVd ‘ONT 'SLNIWLSSANI O300u Zt0z/6/0t SIGNVAVINVO VLV¥38/ ST8ZeE
vo'sst STTZ-TPBZ6 VI JAQHD NIGUVD SAV NVI VHD TH, WINWOOD Y3NUYM SILL NI avo YaNYVM SIAL 2t02¢/2z/0t SIONVAVIVG VlV3a]9T8ZEe
EEKA4 OTZO6 VO STHH ATHAARE GATE VOINOW VINVS T0396) STUH ATH3A98 343 ININVd “ONT ‘SLNSIISIANI O300U zt0¢/6t/oT BLONVAVIAYG VLva8 | ST8Zee
00°C LT8t-OTZ06 VO STIIH ATHSAIG OFT WY UG CYO3X3" N SSP Suz.LaW ONY Vd HE STH ATY3ZAI8 JO ALIO tt0e/Tt/or P/GNVAVING VLV38 | ST8Zce
oo's2@T $bOEC-LS006 VI SATADNV SO1 tS GUE M S06T SL MAN ONI9Z SNTd WAY t10¢/8/0T O/ONVAVWYd ViV3d | ST8Zee
$S°STT EO9E-TTZ206 V2 STHH ATHAAR8 GATS NOSLWAEOU S Ebr ONIBALVD OGAYATY INI ONTH3EVD OGaUSTY, CtO¢/LT/OT ALONVAVIVG Vlvaa | ST8ZEe
so'OT 8662-89006 V3 STTZONV SOT T ALS 3AV GNVIHOIH N OOGT 0295 SHINGYV.LS 0795 SHINGUVLS CtOz/T/OT alanvavinva Viva | OTBZEE
Ose LT8b-OTZ06 VO STHH ATUSAA9 GET WY UC QYOIX3Y N SSP SUALW ONINYVd HA STIIH ATHSAIS 4O ALID 210e/Tt/or S|aNVAVIAVG viv38|STBZEE
BEEZ bO8T-BH006 VO COOMATION .LS3M GATE ATUIARE 0028] YVAS HL GSW IVNIS SYVG39D 377 SNOLLWuadO Ox3IGOS tt0¢/€/0T alGnvAvWva vivid | 9TS8Zee
Tes 80006 VO SJIZONV SO1 OTE LIND IS GUE LSIM TE9B UVE HOIMGNVS SHLITINVO 13 2t0z/9T/ot alaNnvavinva Viwad | STSZee
00°% 8b006 VO STZONV SO1 GY SNUNE IDYOAD S GET 9SZ LOT HUVd V7 4O ALID S3TAONY SO140 ALD ztoz/2z/or a[Gnvaviva Vivad | OTSLEE
s6'9 G0SZ-8Z006 VD S3TADNV SOT GATE JESNNS M 2502) AASNAS ZO¥S SHONGUVIS LESNNS ZObS SHINGYVIS] 2102/81 /6 glaNvAVINVG W1WI8 | STBLEE
S£0 ETRb-OTZ06 VO STIIH ATURARE OFT WY UC QHOIX3Y N SS] SYaLIW ONIN Vd HE STTIH ATYSA3¢ dO ALID tt02/92/0t alaNvAvwva Vvivad | ST8ZEE
00°C BP006 VI STADNY SOT GY SNHNE 3DYORD S GET 994 LOT ANd V14dO ALID SATADNY SO140 ALID 2102/8T/0T alaNvAvIAVG ViWA8 | STBLEE
4 87006 V2 SIZDNV SO1 G8 SNUNG JDYOAD S GET 9SZ LOT AHVd W140 ALID STTZDNY SO140 ALD e107/07/6 s[aNvAVIAVG ViVdd | STSZee
Z0°bOT OTZO6 VO STIIH ATUAARd GATE VIINOW VLNVS F096 STIIH ATH3A38 332 ININVd ‘ONI ‘SLNSIALLSIANI O3G0U tt07/87/6 alanvaviva Vivad |ST8ZE€
00°e 80006 V2 STZDNV SO7 GY SNUNG JDYOIO S GET 952 LO1 H¥Vd W140 ALID SATADNY SO140 ALID 2t02/v/0T a[aNvAVAWG VIVE |STBLEE
Sb’TZ TOEE-TTZO6 V3 STHIH AINSAR3d GATS VOANAID V1 S Sbz BSLSH# SHINGUVIS 8SZSH SHINGUYLS Z102/TT/OT alanvavwva Wid |9T8ZE€
oo? L18b-OTZ06 V2 STIIH ATUSASG OFT WY HG GUOSX3Y N SSP SUaLSIN ONINYVd HE STH AIY3AI dO ALID et02/6/ot BIGNVAVINVG Vlv4a8 |ST8ZEE
98°B6T 22206 YO STTIH ATUZAAS YC ATYSAAS S EEZ Q3WOW 3711 d3zWOW tt0z/€/0T S/ONVAVINVG VLV38/9TSZeE
S2°6T TOEE-TTZO6 VO STMH AIUIAI9 GA1S VOANIID VIS S¢Z 8S2S# SHINGUVLS BSZS# SHONGHVIS 2t0z/z/ot S|ONVAVIVG Vlv28 | ST8ZEe
St oT 8229-9E006 VD SATADNV SOT OFX 31S UG AAOUD SH! 6ST 6802 JISON 8 SINUVE ONI JIGON 98 SINUVE etoe/s2/6 S|ONVAVWY V.LV3d | ST8ZEE
bE’ STZZ-9F006 VD SJIZDNV SOT OA18 LASNNS M OESL 6T6S# 3D1440 XIQAI INI 3DisdO X3GIS eto¢/ve/6 SJONVAVVO VLV38/STSZEE
#WaL-wyert (inp pajtig) SS@Jppy JUBYDJa 4) - Beq ple} WEN JUEYDIBYY - EJEq PueD apop ayeq| apop snyeys plez uo} Jaquinyy
yunowy asuadxg uooesuest! Uopoesuell | atuey~eyeq pie] - aeAojdig
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SEBTSOSOOUXD) £L°2T byES-9P006 YI COOMATIOH 1SAM GAI9 VOINOW VINVS TZ8Z, JOHISXYVW SCOOd S1OHM TOHIIAUVW SG003 JIOHM SUNIIH|Zt0e/2t/e DJGNVAVINVG Vlad |STBZEE
SEBTSOSOONXD! 96°6T bES-97006 VI GOOMATIOH LSIM GATE VIINOW VINVS TZ82 JORIS SGO02 JIOHM 1GHI3XYVW SGCO3 JIOHM SINDIH|2t0z/eT/¢ DIGNVAVINVG V1V3e|9T8ZeE
EELSOTSOOUXD) 68°OLT €T9b-O6206 V3 STIIK ATY3A30 UC ATUSAIS N SEP STIIH ATHAA3E SANYVHS Ni STHH ATH3A38 SANUVHS TWWSSH|2t0z/TT/y DIGNVAVINVG VLVa8|9T8Zce
SEBTSOSOOUXS| €0'6T LT¥Z-80006 VD COOMATION 1S3M GA1d A1Y3A38 6E06 OT# SWS TO.1SIN8 DNI SUV 3O1S14a SIWODH|2T0z/TT/y DIGNVAVIAVG VLvae|9T8Zce
EEZLSOTSOOUXD| 0O°OST 9€006 V2 STISONV SOT “HG SAOUD HINOS TIE YOIS JTaS LAXUVIW SUSIE V3 TT ALIS THY AYOWTID: D1S|ZT0z/0T/y OjGNVAVWVG Vivae/9T8ZEE
SEBTSOSOOUXD| 00°0T? YOEC-ZS006 V2 SFIZONV S01 1s GUE M 906T: 1 MAN ONI9Z SNid IVINYY TINIDH[2100/9/¢ DIGNVAVIAVG Vlvag|ST8Zee
89ZS66P00UXD] SO'EET ZBOE-88S6 VI NOLNYSV31d YO COOMASOY OZby, DVd OUL LBL O71 W ALTIGOW LBLV. W39|2T02/S/b DJONVAVIIVG V.ivae|9TaZee
89ZS66PYO0UXD] 88'bS ZTTP-8h006 V3 SSIZDNV SO11S QE M 0208 SHL'VA-VAVZI NOLLVHOdYOD € OASHIVL| SaW|t102/0e/E SIONVAVINVG Vlv38/STaZee
B9ZSEGPOOYXD| 7S"9S 80TY-87006 V2 SFTADNV SOT GATE SLNISIA NVS S OOP. Svaav HVHS Svaav HVHS TINDSH|et0z/97/e DIGNVAVINVG ViVva8 | 9TaZee
ZLTPBBPOOUXD| 6E'Z YOEP-OTZ06 VI STHH ATUSARE GATE VOINOW VINWS 0896) 8SSb# 391340 X3034 INI 331440 X3034d dO3|2T02/5/E DIONVAVAIVG VLvae| 9TBLEE
CLTYEBPOOUXD| 09°22 yOEZ-TTZ06 VO STH ATYIAIS GATE JYIHSTIM 8ZE8: $8 AVI1 VaL/NV3AG 335309 8 4VI1 VIL/NV3E 334309 SINDIH[210Z/62/7 DIGNVAVINVG VLV38|9TBZEE
ZLEPBBPOOUXD}) OO'OT 8¥006 VO SAISON SO1 GATS A1H3A39 0028 ANID TWIIGIW IVNIS SUVGID ONIX Vd WALSAS ODdV) dvd (2102 /82/e DIGNVAVWVG VlV38/9TaZEe
ZLTYBBHOOUXD] 00°08 8b006 V2 S3TADNV SO11S QUE M 0028 OAQD IE SNI OIZNNNNY,G Dan 2t02/8z/¢ DIGNVAVINVG Vlv3G|9T8ZEE
ZLTPBBHOOUXD| O¢'ZT ZOSb-OTZ06 VO STTIH ATH3A38 UO AN3ARG N 8Zb 33ddO2 SNDNAYVIS SOS AINZAIG SHINGUVIS SUNIIH|ZT02/be/z SIGNVAVIAVG V1LV38| 9TSZEe
CLEPBBHOOUXD| SE'OZ 6052-82006 V2 SA1SDNV SO1 GATE L3SNNS M 2504! AASNNS ZOPS SHINAUVLS LASNNS ZOvS SHINGYVLS SIWIIH|2t0z/Ez/z DIGNVAVINVG VLvae|9T82E€
CLTPBBHOOUXD| 00'S fT02-Z9006 VD STIADNY SO T06 31S 3 Wud AUNIN3D 0802. Z¥id WOIGSW ALID AUNLNAD ZV1d TWOIGaW ALID AUNLNID uval2toe/z2/z DIONVAVINVG Vivad|STaZee
ZLTbB8POOUXD| 70°6T SOBE-ZT206 VO STH AINSATE YG ATHSARG S 207. STIIH ATHIAIE/ANOVAINVHD D AYA HONAUS ANOVINVHD SIADIH|@t0z/e7/z DIANVAVINVG W1va8/9T8ZEE
CLTYBBPOOUXD| TS'EST STT2-TP8Z6 VD JAOHD NIGHV9 3AV NVINdVHS Tepe WINOD H3NYYM 3SWILSNI S18V3 YANYYM SWI IHa| 2t02/ee/z DIGNVAVIAIWG Viva] 9TBLEE
CLTY88POOUXD| 00'6T TeSE-TTZ06 VO STIIH ATHSAIE GATE DIGWAIO M SP06 DIDINATO TZ90 SHONSUVLS DIMWATO £290 SHONGUVLS STANDIH| 2102 /9t/e DIGNVAVINVG Vlvad|9TaZEe
CLEPEBPOOUXD| OO'ST 89006 VO COOMATION Sam 8 id¥ Ud TIVMS N TPT QaNVS AAIWNA ITI LaVoUVAN SINIIH|2t0z/St/e DJGNVAVIAVG VLv38| 9TRLEE
CLEPBRYOOUXD| 00'Pe 8006 VD GOOMATION 1S3M 8 dv Yd TIVMS N THT QaNV8 AWIWNA HATH LAYVOUVN SIWD3H|2t02/sT/z DIGNVAVINVG VLv3e|9T8ZEe
CLIbBBPOOUXD) 00ST 8v006 V2 COOMATIOH 183M 8 1dV HC TIVMS N TPE Gav AWIANA HATIIW LayVOUVIA SIWIDH|2102/ST/z DIGNVAVINVG Vi1vad | STBZEE
ZETPBBPOOUXD| O0'ST 89006 VI GOOMATION 1S3M 8 ld¥ YG TIVMS N TPT aNd AWA UAT LauvOUuVN] SINIIH|2t02z/sT/z DIONVAVINVG VLVaa| OTB EE
CLTPBBPOOUXD| O0'PZ 8b006 YD GOOMATIOH LS3M 8 ldv YG TIVMS N Tet GaNVa AWIAINA HATTA L3HVOUVAN SIANDDH| 2102 /ST/% JIONVAVINVG V1v30|9TBZEE
CLTPBBHOOUXD| SL'vZ TIE 8b006 VD SITJONV SOT IS QUE M OSES CYIHL NO SNVOf INI ANVdINOS ONY dOOs SINIIH| Zt0¢/PT/e DIGNVAVINVG VLva8|ST&Zee
ZLTP88hOOUXS| O6'PTT POBE-SPZOG VO OGNNDIS 13 1S NIV TS] NOMG N3XDIHD ASIHINVHS NOLG NaXDIHD TIWI3H|2t0z/0t/z DJGQNVAVIAVG V.ivaal 9TBZEE
ZLTb88H00UXS| OF ET ££TS-9t006 VD GOOMATION M GAId VOINOW VINVS TO6Z 7TS9 SHONSYVIS ZIS9 SHINAYVIS SIWIDH|[2T02/8/Z DJGNVAVIVG v1v38|9T8ZEe
ZLTbBBPNOUXD| OO'ZHT pOSE-SbZ06 VO OANNDAS 7a 4S NIVW TSZ| NOfd NFADIHD ASIHINVHZ NOFIG N3XDIHD TWI9H|2t0¢/24/z DIGNVAVINVG V1v3a|STBLEE
P96PLEPOORXD| OST E0ZE-SPO06 VI SATAONY SOT GATE GOOMATIOH O0TZ| TIOH M ONIYYd ODd WIV ONAN WLESAS ODdINIV| uvd|2t02/9/2 DIGNVAVANVG VLvad|STBZEE
POGPLEPOOUXD} TS'ZET Z80E-88S6 VI NOLNVSV3Td Yd GOOMASON oer Dvd OIL LSLY O71 4 ALIIBOW LBLy ‘133|2t02/S/2 QIONVAVINVG VLva8|STBZEE
CLEPBBPOOUXD! OO'VET 80Tb-8P006 VI ST1ZDNV SO? GAIA ALNIOIA NVS S OOP SVaav HVHS S¥aeV HVHS TW99H|et02/2/2 DIGNVAVIVG V1v38|9TBZEE
2LTPBRPOOUXD) S6°ST bOEZ-TEZOG VO STIIH A1Y3ZA3d GATE AMIHSUM 8ZE8 v8 da VaL/NV398 334403 p8 3V91 VIL/NVA8 33450) STND9H|2t02z/2/e DIGNVAVINVG Viva | 9T8Zee
PS6bL8P00UXD| OS'O 8'006 VI SIADNV SOT 0Y SNYUNG 3DHOID S GET. 9S2 L017 HuVd V14O ALID SJTSONY SO7 SO ALID uvd|[@r07/T/e DIGNVAVINVG VlVvd8|9T8ZEE
CLTbBBHOOUXD| SE'LT bOEZ-TEZ06 VO STIIH ATHSARA GATE SYIHSIIM 8ZE8 $8 JVI VaL/NVA8 394409 #8 3WI7 VIL/NV3E 3394509 SUNIIH|2102/T/z DIONVAVINYG V.Lvaa | ST8ZEe
POGPABYOOUXS| 00°9 TO0Z-£9006 VI SFIFONV SO1 Hd 3 ANVd AUNIN3D 0802 ZV1d TWIGS ALID AUNLNGD ZV 1d TWIIdSW ALID AUNLN3D uvd|tro7/TE/T DIONVAVIAVG VlVv38|9T8ZEE
PSGPLEPOOUXD| T2°20z BOTH-81006 V2 SITIONV SOT GATE S.LNSDIA NYS S 007] svaav HVHS SVasV HVHS TIADDH|et07/s2/t DIONVAVINVG Vlvae|9T8LEE
POGPLBYOOUXD| CL°77 6045-22006 V2 ST1ZDNV SOT GATE LASNNS M 60ZS) AUAVE NOS 8 YSHL YS NVINFLYaL TANS STNDDH|2t07/r2/T SLONVAVINVG Vlvd8|9TaZce
PSGPLEPOOUXD| $6'EZ 6045-22006 V2 STIJDNV SOT GATE LISNNS M 6025] AMANVE NOS 8 H3HLVd NVIN3LYAL TAAWVS TWII5H|2t02/b2/T DIGNVAVIAVG VLVae | 9T8ZEE
PO6PLBPCOUXD| Ob'ST POEZ-TTZ06 V3 STUH ATURARG GATE SUIHSTIM 8ZE8 8 dVaT V3L/NV38 335309 v8 JV3T Val/NV38 333309 SIWIIH|ZT0¢/6T/T SIGNVAVWVG V1Lva8| 9TBLEE
POGPZBbO0UXD| OT'SST PORE-SPZ0G VI OGNNDIS 13 1S NIV TSz NOfIG NAXDIHD ASIHDNVUS NOS N3ADIKD TINIIH|ct0z/2t/T DIGNVAVINVG Vlva8 | 9TBZEE
GZELTRPOOUXD} 00° 8¥006 V2 SISODNV SO7 GY SNUNE JDYOIO S GET 9S2 101 HuVd V140 ALID S3TADNY SOT FO ALID uvd|200z/TT/T SIONVAVINVG V1V3e/9T8Zee
bS6PZ8P00UXD| 0O'OTZ vOE2-25006 VD SITSDNV SOTLS GUE M S06T SL MAN ONI9Z Sd WAY TIWI3H|2002/6/t SIGNVAVANVG V1V38/9TBZEE
GZBZTBPOOUXD) CO'T Bb006 VD SISDNY SOT GY SNUNE 3DUOAD S GET 982 LOT AuVd ¥140 ALID SATZONV SOT IO ALID uvd]2t02%/9/T DIGNVAVIAVG Vivid |STBZEe
SZBLZT8HOOUXS| OO'OST 9€006 V3 S3TADNY SOT “HG SAOUD HLNOS TIT YOLS 3173S LAIUVW SHAW 371 SUS THY FYOWTID 9Ls|et0z/e/T SIONVAVIAVG Vivse| STB Zee
LBEGSLDOOUXD| SE'LTZ $2S8-82006 VD COOMATIOH GATE L3SNNS M 0095) 9T99 LOd3G 3WOH 9T99 LOd3c SINGH AVICId|TLOZ/6z/et O[GNVAVIAVG V.LVa8 | ST8ZEE
L8E6BLYOOUXD| CO'T TOSTE VO SITJONV SO1 GATE VIIONDV 627TT ONAYd GAYSL3W ALID V1 SATADNV SOT 40 ALID uvd| Troe/22/et DIGNVAVINVG vivia|ST8Zee
L8E6BLP0OUXD| TETST STTC-TP8Z6 VO AAOUD N3GHV9 JAV NVINWH) TPZ! WWO2D Y3aNYVM aIALL INI S18 V2 MANY SAIL {Hd] tt02¢/¢7¢/zt DONVAVINGG VLv3a8]9TBZEE
L8E68LP00UXD| 00°8T 8b006 V2 GOOMATION 153M 8 Ld Ud TIVMS N TdT Gand AWA HATIW L3YVOUVIN SIWDDH|T LOZ /02/2T SIGNVAVIAVG Viwad|STBZEE
L8E68Z700NXD| 00'ST 8~006 V3 GOOMATION LS3M 8 1d¥ Yd TIVMS N TPT Gada AWWA U3TIW LaYVOUVIAN SIWIIH|Tt0¢/02/zt DIONVAVINVG Vvlvia|STBZEE
Z8EGBLPOONXD| OO'ST 8006 VI GOOMATION 1S3M 8 Ld¥ YO TIVMS N ToT QBAVE AWAINA ATU LaHVOUVA SYIIH} T0z/0z/2T SJONVAVIAVG V.Lv38| ST8LEE
LBEGBLPOOUXD| 00°62 bOBE-SPZ06 VI OGNNDIS 14 1S NIV TS2 NOG N3ADIHD ASIHINVHd NOSIG N3XDIHD TIWSDH | T102/0z/2t SIGNVAVNVG Wlv3d|9T8ZEE
E£BEEBLPOOUXD) 00ST 89006 VI GOOMATIOH 1S3M 8 ldv UG TIVMS N TPT G3xVE AWWA YaTIA LeVOuV SIWDIH{T1OZ/02/zt DONVAVINVG Viva |STeZee
L8EGBLPOOUXD| 2S'9T 6052-82006 V3 SITZONV SOT GATE LASNNS M £502) ALASNNS ZOPS SHINGUVLS LESNNS ZObS SHINGYVLS: SIADIH|Tt0z/oe/zt DIANVAVIVG Vivid | ST8ZEE
EL8EG8ZP00NXD| LTC 60524-82006 V3 SATZONV SOT GATE LASNNS M 2504) ALASNNS ZObS SHINGUVIS LISNNS ZOPS SHINGYVLS, SIWDIH|T10z/6t/2t DIGNVAVINVG VLV48|ST8ZEE
LBEG8ZPOONXO| LEbZ @OEZ-SEONG YO SATFZONV SOT GA19 O3id M 7298 Odld AYAAVE ZLYYMHDS ‘SONI VIA VE, SUADSH|TIOZ/pt/2t DIGNVAVWVG Viva8|STB8LEE
CEGSELPOOUXD| Lb'obE'T OTZO6 VD STHH ATUSAIG YG NONVD N Sty SNOH AVALS SONYD FIOM 311 STHH ATHSARE AVSLS OIWIDH|T10Z/8/2T DIJONVAVINVG Vilivaa|STSZeE
Z66SELPOOUXD| 00°S9 9€006 VO SFTZONV SOT HG SACHS HLNOS TIT HOLS STaS LAWN SUSIE V4 O11 SIS THUG SHOWS S1s|Tt0z/t/2t DIGNVAVINVG V1V38 | STSZEE
6ETLE9POONXD| O2°2T EQ8T-8b006 VO GOOMATIOH LS3M GATS A1N3A39 £628 8b dV31 VALS NV3d 334309 BF JV31 V3L 2 NVI9 343209 SIWIDH[TLOZ/62/TT SJONVAVINVG VLV38 | STBLEE
#Val-wyeia] (3nd payia) SSaJppy JUEYDJaW - B1eq pseD BWEN WWeYyrHaY] ~ E3eq ped apop ajed)] apo3 snyeys| plea uo 2aquinn
qunowy asuadxg uonesuesy} uopoesues,| awen-eyeqpsen] - aaAojduy
asuadx9 sasuadyxy psp - 33e¢

 

 

 

 

 

 

 

 

 

 

 
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LTEBETESOOYUXD| O2'ST L06T-8/006 VI GOOMATION LS3M GATE VOSNAID VIN PtP OHAAVATIVG COOS Tad INI GAH STWOIDH|ZT0¢/6T/2 SIGNVAVINVG VLVI8 | ST8ZeE
LTBETESOONXD| OS*0z OTZ06 VO STUIH ATY3AZ9 VIINOW VINVS FILIM TE96 TOT WAS 231 SATINIUdS ONT SANVIdGND SATANIYdS STADDH| 2102/8T/2 DIONVAVAIVG Vivae | STBLEE
LTRETESOOUXD| 6b'Z8 OT206 VD STIIH AlY3ZA39 GATE VIINOW VINVS TO96) STIUH ATH3ARE AAV ININVd ‘NI ‘SLNWILS3ANI OF00¥ TINDIH| CLOe/tt/2 SIGNVAVWIVG ViV36|9T8ZEE
LTBETESOOUXD| 95°42 £CEC-ZE206 VO STII ATW3AR9 CAI SUIHSTIM TZ96] OHSdOHD 13WNOUDS 3V3aINIIYD OHSdOHD 13INUNOD AVAaINAIYD SIWDIH|2102/0T/2 SJONVAVVG Vivi | STSZee
SOGEBTSOOUXO| ES'ZET ?B0E-88Sb6 VI NOLNVSV3ld HO GOOM3SO" OZPt OVd OU LEV 971 ‘HALIUEOW 181] OHd}2t0z/S/L SIONVAVINVG Vivad | STSZEe
ET86TESOOUXD| O8'6T LOTE-8b005 V2 SITJONV SO1 GAT NOSLUAEOU S SPE 33AND 1004 8 ANIM 3NId 39AND DAW ZTOz/b/L DIGNVAVWWG Viv3d | ST8Zee
S9GERZSOCHXD| S2'0 8/006 V3 STADNV SOT GY SNUNE 390 S GET 952 101 AUVd Vi5O ALID STISONV S07 40 ALID uvd|2t07/62/9 DIGNVAVIAVG VLvad |[STBZEE
SSGEBZSOOUXD| SO'PT £2€2-CT206 VO STIIH ATHAASE GATS SUIHSTIM T1296} OHSdOHD J3WNOHD JV3IN3IYD OHSdOHD LSWHNODS dvaINaIUO SWIDH| 2t02z/8z/9 DONVAVWV Viva | ST8ZEe
SSGEBZSOOUXD| SZ°ZT €08T-8P006 VI COOMATIOH 153M GATE ATYSARE £628 8b dVd1 Val 8 NVA 333409 8 431 VAL ge NV3a 33adJ09 SUANDDH| 2t0¢/20/9 DIONVAVIAVG Vlv38 | 9T8ZEE
SSGESZSCOYXD] TS'09 LOTY-8V006 VO SITZDNV SOT CA18 SINSDIA NVS S O8Y AUWH INVENVLSIY NOISIA ONINdS DAW 2102 /2¢/9 DIONVAVINWG Viva | ST8ZEe
SOGERZSOOUXD| 89°9S GEG2-TTZOG VO STIIH ATYSAIE COT # GATE SYIHSTIM 6298) JiV3 S$ YAONVXIW ONT ADALHOU THWND9H | 2102/92/9 SIONVAVINVG Viva8 | ST8Zee
SSGEBTSOOUXD| OS TZ 8ST TP-8H006 VO SITZONY SO1 GATE VOINIID V1 00E: €¢T dval VALNV39 33340) €pT dval VaLNV38 3ddd0) SIADDH|2t02/e2/9 JJONVAVIVG Vivdd | ST8Zee
Q90PSZSOOUXD| OO'TZ TObb-OTZ06 VI STUIH ATUBARE GATE VOINOW VINVS SE96 DTT V3 S2AVIdND SATANIdS INI SIAVIdND SATANTYS SIWDIH| c102/T2/9 DIAGNVAVWIVG Viva | STSZee
S990PSZSOOUXD| EFT LOPE-SP006 V3 SATSONV SO1 OA19 LASNNS M L252 QOT SHd'1V¥ ANVdWOD AYZIOUD SHd IVY SIWO3H|2102/T2/9 DIONVAVINVG ViVa8|STaZee
990P9ZS00NXD| 22°ST Ttrb2-8006 YD GOOMATIOH 1S3M GAIA AIU3A39 TO06 G18 ATH3A38 SGVNOW31 dNOUS LNVUNV1S3Y SGVNOWS1 STWIDH|2T02/ST/9 SIGNVAVIAVG V1V38|9T8ZEE
990P9ZSOOUXD| SB°Te E08T-8h006 VI GOOMATIOH ISAM GANG ATUSARG £628: 8b dVai Val 8 NVI8 334409 8h 331 VIL 8 NVIE 333109 SINIDH|2T02/St/9 DIANVAVNVG Viva |ST8ZeE
990/9ZS00UX9| 0S"0 87006 VO STSDNY SOT GY SNUNG JDYOIO S GET 952 LOT WWd ¥1dO ALID SFTFONV SOTO ALID uvd|Z0z/et/9 SJGNVAVAVG Vivae|9T8Zee
SSOPEZSOOUXD| ZT‘OZ Teb2-8t006 YS COOMATION LS3IM GAIS ATHSARG TONG: 19 ATH3A38 3CVNOWAT dNOUS INVENY.IS3y JGVNOWS1 SUANDIH|2T02¢/bt/9 DIGNVAVINVG Vlvaa/9TaZee
S90P97SOOUXD| OETT E08T-8h006 VD COOMATION £S3M QAId AIUZARd E628 8b 3¥91 VAL? NV38 33440) 8b dV31 V3L 3 NWAS 334409 SIADIH|2102/¢T/9 DIONVAVIAVd Vlv38 | ST8Zee
BETPSZSCOUXD| Ob'TT 8595-26206 VO A3Y 14d VNINVIN GAT8 NOLONIHSYM TEPET: ELS SHONGHVIS ETLS SHINGUVLS ANS|2ZT0Z/€T/9 DIONVAVIVG V1Va8 | STRZEE
SETYSTSOOUXD| LE'sr Q8EE-TEZOG VD JDINSA GAIA ASNNIN LODSY EZOT ANVUNVLSAY SIOL LNVUNVLSSY SOF] Nid|2t0z/2T/9 DIONVAVVG Vivsal 9T8 Zee
BETPOZSOONXD| E2*Ee ETTGT Vd VIHCIEGVIIHd € YS ININI VIHdISGVUHd OTT Hd LNSWADVNVW DLO 971 IHd LNSWADVNVIN 910 NN1|z102/8/9 D|GNVAVNVG Vivad|9T8ZEE
SETPOZSOOUXD| 87'9T €0ST-09S80 (N JTHASNLLL Y NOLUNOGUVH NOLNIYL S2tt: TE8T SAVDATIIASNLIL VSN dNOYD SsvdWOD uvd|2107/2/9 OJGNVAVANVG Vivaa | 9T8Zee
BETPSZSOONXD| 69°29 THLE-2b580 IN NOLIONIUd IS HSISIN 62 VudSLIGAW 371 LSY HSISINH VuuaLliGaw Nia] ztoz/z/9 S|GNVAVINVG V1v38|9T8ZEE
BETPOZSOONXD| 99°07 TEL8-82006 VD S2TSONV SO1 GATE LISNNS M0629 GOOMATIOH SN33H9 YFONAL NI NOUS ANVUNVISAY dAL Nm |zt0z/2/9 SJGNVAVINVG viLvaa|9TeZee
BETPSZSOOUXD| STIL £085-SP006 VD STIZONV SOT AVM GTHOM TOz XVI TLHLYON SHONGYVIS Lddl¥-XVT-LSOHSWH ANS |2T07/2/9 DJGNVAVAIVG VLVae| 9T8ZEE
BETPIZSOOUXD| OST 09580 [N STHASNILL NOLYNOGUVH NOLNAYL SZTT! T68t VIAUVHd NASSNYf “ddOD TYNOLLYNYALNI Nd avd] etoz/9/s SIONVAVVG Vilv3e|9T8ZEE
BETPIZSOGUXD| 0O0'SP ZOBE-VEOSS ZV XINIOHd GATE YOSYVH ANS 3 O00F] SATVS JDquIG SAVMUIY SN SAVMUIV SN aasuly|zt07/9/9 O|GNVAVINVG VLvaa|9TBZEE
BETYIZSOOUXD| OS'HZ B8E980 [N ONIMZ SAV NIG10 N 3-ZEST: DTIAUD F1dbfid STI ALD JIdUNd Nig|72toz/s/9 DIONVAVINVG vlvsa|STeZeE
SSGESZSOOYUXD| OO'OST SE006 WO SATSDNV SOT HG JAOUD HLNOS TIT YOILS AT3S LEUVIN SHINY 911 3LIS THO SYOWUD 51s|zt0z/€/9 S/GNVAVAVG Viva8 [ST8Zee
BETHOZSOOUXD| 00'% 8v006 VO STJDNV SOT GY SNUNE FDUOIO S GET 9S¢ LOT NUVd V140 ALID SATADNV S01 JO ALID uvd|2toz/te/s SIGNVAVWVG VLv38/ST&Zee
T898PTSOOUXD| OO'STT StO8-SE006 VO STIZONV SOT IS GUE M OZZS| ANVUNVLIS3Y ONIX NAHD ONI SNAT] TIANDSH| et02z/sz/s SIONVAVINVG VLV38 | STBZLEE
TS98PTSOOUXD| PTSD TOvt-OTZO6 YO STIIH AlWSAag GATE VOINOW VINYS TO96 STHH ATU3AI8 adV9 ININVd ‘ONI ‘SINSWLS3IANI O300H TIWD9H | 2162/E2/s SJONVAVINVG VLVa8/9TaZee
T898PTSOOUXD| 00°C 8b006 V2 STADSNV SOT GH SNYUNE 3DYO3O S GET 952 LOT AUWd V140 ALID SATADNV SO1dO ALID u¥d|Z102/227/5 DIQNVAVWVG V1v38 | ST8ZEE
TSS8¢TSOOUXD| O9°SES PE0S8 ZV XINJOHd "GATS HOSHVH ANS “3 OO0P: SIIWS DUY SAVMUIY SN “DNI SAVMUIY SN auly| Zt0¢/te/s SIGNVAVINVG VLW38 | STBLEE
T898¢TSOONXD| O8'PT @E@2-SEO06 VO STTZONY SO7 GATE O3Id M E828: 9295 SHONGYVLS 9795 SHINGUVLS| SIWDDH| zt0¢/2t/s SIONVAVWVG V1v38)ST82Ee
T89BYTSOOUXD| Tepe TeTyS OW ALID SUSNVY 9966-EbZ 008 T DAS LSND ACISLNO LY TIGOWNOXXA TOWNOXX3 uyo|ztoz/at/s DIGNVAVUIVG Vivae}9TBZEe
TS98PTSOOUXD! EZ'TS L£2€¢-2T206 VO STH AIMSAIg GATS SUIHSIM T2965] OHSdOHD LAWNOUD sVFINITYS OHSdOH) ISWENOD JVFINIaD TIWIIH|zt0z/9t/s DIONVAVAVG Viw38 jSTBZEE
T89BPESCONXD| O5'0 8006 V3 SISDNV S01 GY SNUNG ADUORD S GET 952 1O1 HUW V14O ALID SATADNY SOT 40 ALD uvd|Zt0e/st/s SJONVAVAVG VLV38 | ST8ZEe
T898PTSOOUXD) STO 9TP2-LT006 YO SATZONV SO? GATE SYIHSTIM O60T 9BS0T SHINAUVLS NOILVHOdHOD SHINGHVES 5a|2to¢/st/s SIONVAVINYG VLVdd | ST8ZEe
T89BPTSOOUXD| OO'T 8006 VO STADNY SO1 GH SNUN@ 3DYOR9 S EET 982 101 Wud V140 ALID SATAONY $0140 ALID ud] 2toz/st/s SIGNVAVINVG ViLvaa | STBLEE
TS9BPTSOOUXS| SPST 2¢9T-02006 V2 STIASNY SO11S GUE M OTHE 7E AUSIOUD SHd Ve ANVdWOD AUSIOUD SHdTV¥ SIANDIH| @t02/st/s SIONVAVWIVG V1V38 | STBLEE
TR98¢TSOOUXD| ¥9°SS STO06 VD SATSONV SO7 LS HiG M009 NMOLNMOQ 34V2 ININVd SENAIWLSAANI VLISO1d VINVS| TFIWDIH| 2102/ST/s DIONVAVMIVG VLvae | STBLEE
ZOSTLTSOOUXS| 92°8T 872006 VO STIJZONV SO? GATE LASNNS OELI T6y9 Civ 3Y T6p9 Civ 3Ly dO3|2T02/2T/s SIONVAVIYG Vivaa | STBZee
COSETESOOUXD| ZTTe 80006 VO SATSONV $01 GATS ATHIATS 0608! €0S6# SAD YOSITYD S3HOLS ONC SONOT SIWIDH|2T02/OT/S OIGNVAVINVG V.ivag L9TBZEE
COSTTTSOOUXD| SL°ZT 8ZTS-97006 VI COOMATION 153M ZOT 315 GATS VIINOW VINVS TOSZ, ZLS9 SHINAYVLS CTS9 SHINAYVLS| SIWIDH|2T02/0T/S SIGNVAVIVG VLva8 | STSZEe
ESTLPTSOOUXD| Ob'998'T SO@Z-TT206 VD STH ATU3ARS GATE VOANAID VIN OT THES ONV HVE ANISS VISTI AGVINVHD QINI9h|2102/6/S OIGNVAVIIVG ViLvde |9TRZEE
COSTTTSOOUXD| $0'6 6162-TTZO6 VO STIIH ATUAARG OCT # GATE AMIHSTIM ThS8 G3.LIWNINN XY OTT ‘GILIWTINGA XY SIWIIH[2102/2/5 OONVAVWVG Viva |STBZEE
ZOSTTTSOOYUXD| SE"b9 9685-9b006 V3 GCOMATIOH LS3M GATE VOINOW VINVS OOTZ| Peet LAOSUVL pest LION XLO[zZ10z/e/$ SIGNVAVIAVG VLV38|ST8ZEe
ZOSTLTSOOUXD} OO'rZ 6025-27006 YO STTADNV SOT CATA LISNNS M 607S AvaNVd NOS 3 U3HLV4 NVINILUSL TANS SIWODH|2t02/T/S SIGNVAVIVG Viva |STBZE€
COSTTTSOOUXD) 95°2T PO8T-8P006 V2 GOOMATION 1S4M GATS ATYSAaB 0028 YV.LS HL GA IVNIS SYVOID OTT SNOILVYIdO OX3COS| uvd|[@707/1/S SHONVAVINVG Viv38|STSZEE
ZOSTTTSOOUXD| 02ST 8006 VO STTJDNY SOLS CUE M SE98 MSZE ALINS| SOOVNS S.OOfOOF WI NIHS OOF SIWIDH|z2t02/T/S D/GNVAVINVG Viva] ST8ZEe
ZOSTETSOOUXD| 2th 6025-27006 V3 S2TSDNV SOT GATS LISNNS M 6025 AUIHV NOS °8 WAHL NVISALYIL TEAWYS SIADDH|2Z102/1/S SIGNVAVINGG VL¥d8 | STSZee
EELIOTSOOUXD| So’OST GOEE-8P006 V2 SITZONV SOT GATS YOINFID VIN F2E 7 NAHI WZZid ATW) @ NAHOLY VZZid SIT TIWDSH|2102/22/¢ SIONVAVIVG VLV38 | STBZEE
EELIOTSOOUXD| SZ'Z 87006 VO SSTSDNY SO} GUVAZINOS AlN3Aad 00L8 YVIS HILO GSW IVNIS SHYG3D 3171 SNOLLWH3dO OXAGOS DaW | c10¢/vz/b SIONVAVAVG VLvaa|STSZee
EELSOTSOOUXO| Lb‘EsT STTZ-T¥826 VD JAQUD NIGUYD JAV NVIAVHD Tred) WWO3 Y3NYWM SWILL NI a18V3 YAaNYVM SAL SHd| tt0z/ez/b DIONVAVING VL¥3d|9TSZEe
EELZIOTSOOUXD| OO'T 8P006 V2 SIJDNY SOT GY SNUNG JDYOID S GET 9S2 107 WUVd V130 ALID SITAONY SOT AO ALID uVd|tL0z/0z/y SIGNVAVWIVG Viva |STSZEe
SEBTSOSQOYUXD| OL'ET 87006 VO STTJONY SOT GUVATINO AlUIAA 0028 HVS YL) GBIA IVNIS SUVOID ITT SNOILWHadO OXACOS UV¥d|ZTOZ/LT/b SIGNVAVINVG VLV38|STSZEE
SEBTSOSOOYXD} 76'S Z6T7-9E006 VO SJTJONY SOT GATE ATHAARE SZ82 YayxOUE 139Ve AHL ITI SWOVE SATIE SINDIH| CtO¢/Et/y SIONVAVIIVG ViLva8|9T8ZEe
8 vai- wel] (ind payia) ssauppy weyssayy - eq pseD WEN JUEYWAW - 23g pled apop ag] spojsnyeys pieg uo JaqunN
qunowy! asuadxy uoyesuel!| UoRoesueyL| aWeN-eyeqpsen) - aaAojdwy
astiadx3 > asuadxg prey - 33eq

 

 

 

 

 

 

 

 

 

 

 
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PIBPLEPOOUXO! So’2T TOEE-TTZO6 VO STHH ATUIARSE GATE VOSNAID VIS See BSZS# SHINGYVLS BSLASH SHONBUVLS SIWOSH | 2107/6/E SIOQNVAVINVG VLV38/9TBZEE
LBEGBLPOOUXD| G2°L7T BOTY-BY006 V2 STTAONY SOT GATE SLNSDIA NVS S 008] SVaa¥ HVHS SVddv HVHS: TINDDH| Tt0z/st/zt SIONVAVIVO V1Va8|STSZee
SG6Z9EPSOCHXD| PO'9S 0082-20880 [N YALVM35CINd AVM SNOWWIOD 00F £9# HOIWHDS 8 NIAOIIN AIIWHIS 72 AIWHOIIIN NIG} ZT0%/bT/8 SIGNVAVINVG W138 /9TSZee
L8EGELP00UXD| 0O'PZ 8¥006 VO COOMATION 153M 8 LdV UG TIVMS N T¢L Cave AWWINA H3TIIW Juv oUVA STANDS] Tt0z/Tz/zT DIONVAVINYG VLV39 | ST8ZEE
SvETBSOOUXD| 9E"Ez pOCSL XL SVTIVG SAV TIZNSVH HLYON TTZe 1Sv3 U3EN30 JOVId ALIO AINOBYOIS N3AII4-2 INI NSARIA-Z SIWIDH|2t0z/0t/8 DIONVAVAYG V1v3ad|ST8ZEe
ZOCGPSPOOUXD| S8°OT 209¢-OTZ06 VO STHH ATH3ARG UG ATUSARG N 8Zy| F3a409 SHINGUVLS SOS ATHIAZA SHINGUVLS SUAIIH| Tt0e/e/TT DIONVAVWVG viva |ST8Zee
LTRGTESCOUXD) S6'bZ 60SZ-82006 VO SJTZONV S01 CATE JASNNS M L504: LASNAS ZOPS SYINGUVLS LISNNS ZOPS SHINGUVLS SIWI9H} 2t0Z/eT/2 DPONVAVINVG VLVa8 | ST8ZEE
6PSSLESOOUXD} 00'OST 9E006 VO SATZDNV SO1"NC SAOUD HLNOS TIE MOIS 3T3S LBUV SUSI VS 311 SUIS TYG SYOWID: D1s}zt0z/¢/8 DIONVAVINYG Vivad|ST8ZEe
7ZOZEY9POOUXS)] Z6'9S Tebe-8006 YI GOOMATIOH 1S3M GATE ATHIARE 1006, 18 ATHIAIG SGWNOWAT dNOUD INVUNV1S38 AQVNOWST THADSH| Tt0e/e/TT DIGNVAVIVG VLV38 | 9T8Zce
p96PLBPO0NXD] O0're 6025-22006 V2 SFTSONV SOT GATE LISNNS M 6025) AMARVE NOS 3 YAHLVA NVIHSLY2L TAAWYS SHADSH|2t02/b2/T DIGNVAVWIVd V1V38 | 9T8ZEE
P96bZBP00UXS| 98°TZ 86006 V3 STTSDNV SO1 GUVATINGG ATUIA38 0028 YVIS ULD GIA IVNIS SHUVG32 D7] SNOILVuadO OX3d0S SIW99H|2102/0t/T DJGNVAVINYG Vivae | 9T8ZEE
S6Z9EVSCONXD| 85°0S 9006 VD GOOMATIOH 154M GA18 L3SNNS 80b2 T LNVUNVLS2Y SUCVdWO) 13 INVENVISIY JHOVdWOD 13 Nia|ztoz/v2/s DIGNVAVINVO Viva | 9T8ZEE
SETPSZSOOUXS| EGET S¥006 VO STIZDNV SOT AVM OTHOM COT-X¥1: POT VINYOJIIVS JO SM3YD POT VINYOdIIV> JO SMAuD Nid|@t0¢/t/9 DIGNYAVINVG Viva |ST8ZEe
E96ELbSOOUXD| OS°T LT8b-0T206 VO STIIH ATU3AI8 OET WY HO GYOAXIY N SSH SYSLAW ONY Vd H8 STIIH ATH3A39 JO ALD uvd|ZT02/0T/6 SIONVAVINVG Viva8 | STaZee
BETPIZSOOUXS| OT" 09580 IN STIASALIL NOLYNOBYVH NOLNIYL SZIT T68T VINUVHd N3SSNVI ‘"ddOD IWNOILYNUZLNI ANS uvd]2t02/s/9 DIGNVAVAVG ViVad |ST8ZE€
GPSSLESOOUXD| SO've TOEE-TTZ06 VO STIIH ATUSAIG GATE VOINAID WIS SbZ BE2S# SHINBUVIS BSLSH SHONGUVLS SIWIIH|Zt0z/0E/2 DIONVAVAIVG Vivae }9T8Zee
E9GELPSOOUXD] E2'So €ZEZ-BE006 VI COOMATION LS3M JAY Wada VIN STOT €6E OD ANG LS3E d] SIHOLS ANB 1539 d09[2T02/ST/6 OJONVAVIAVG Viva |ST8Zec
EQGELPSOONXD| 00'% LT8b-OTZO6 VO STUH ATHSAR OFT WE YG GHOIXY N SSP SURLIW ONINUVd RG STII ATHSARG JO ALD uvd|@T0¢/et/é DIONVAVINWG Viva |STRaZee
ESGELPSOOUXD] 89°ZET EOSE-TTZ06 VO SITIH ATH3AIa GATS NOSLUASOU S Edd ONIWALVD OGIYATV INI ONIMALVD OGIUSTV VIWISH|2102/2T/6 SONVAVINVG ViV38|9T8ZEe
E96ELPSOOUXD| O£'09 TOEt-OTZO6 V3 STTIH ATH3ASE HO GYOIG38 N 9Sh IYNAVS LHAAYS Da |er0e/TT/6 DIGNYAVIAVG V.1V38|ST8ZEE
E96ELYSOOUXD) 80°99 THTbS OW ALID SUSNVM 9966°Eb2 008 T IAS SND AGISLNO LVD TIAOWNOXXa TIGOIWNOXKS u¥5|210z/0T/6 OIGNVAVIAIVG Vivae | ST8ZEE
E9GELPSOOUXD| Lb'sT LObE-SPO0G YO STIONY SOT GA78 LASNAS M 22752 OOT SHd1VH ANVdINOD AYADOUD SHd IVE SUWISH| 2t0z/ot/6 DIQNVAVINVG Viva |ST8Zee
ESGELPSOONXD| CO'OST 9E006 V2 SATJONV SOT‘HG 3AOUD HLNOS TIT HOLS F135 LAU SHIWed OTT ALIS THUG SYOWTID 915|zt02/5/6 DIGNVAVIAVG VLV38| STBLEE
SbETSPSOOUXS| OO'T 8b006 V2 STSDNV SOT GY SNUNG 3DYOID S GET 9S2 LOT AuVd V14d0 AID S3TZDNV SOT AO ALID| uvd|2t02/TE/8 SIGNVAVINVG V1lvd8|ST8Zee
OPETSPSOOUXD| SPLIT EOSE-TIZ06 VO STIIH ATHIAI CAT NOSLUAGOY S EP SONIUALYD OO3YS TY INI DNIUSLVD OGINSTV| TINS 2T0z/Te/8 DIONVAVIAVG V1v3d|STBZEE
SGZIEPSOOUXD| 68'6t 8ZSE-92880 [N OUNGHONVHE éZ AVMHDIH SN Tote SYNAHINVYE JSNOH LLVAH 971 dNOUD STSLOH 193738 ‘UH | 2102 /b2/8 OIGNVAVINVG V.LVa8 |STBZEE
S6Z9EPSOOUXS| S6°bT PETZO IN HUVMAN 3 - WWNITAHSL WAS LYOduIY HUVAAIN SMAN NOSGQH A> XUVMAN-NAN-NOSGNH ANS|ZT02/Ez/B SIGNVAVWVG V.Llv38| STaZee
SECIEPSOOUXD| 62°27 TOTO IN AUVM3N LYOduIV TWNOLLYNUALNI MIN WANIG SABA STI 2-3 WMa SADNY Nn1{2t0z/ez/8 DJONVAVINVG Vlvad | ST8ZEE
QVETEYSOOYXO| EO’EET STT2-TP826 VO JAQUD N3GYVD SAV NVINVH2 Tope WINOD Y3NYVM JWIL ONT ST8V2 YANEVM SILL ld] 2502/22/8 DONVAVINVG V1V38|STBZEE
SEZSEVSOOYXD| 90'TZ 92880 [N STIAYSIWOS 823 3LY SUNGHINVE © SaddOHS| O8%6 SHINGHVIS NOVYOdYOD SHONEYVLS yug|Z10¢/22/8 S/GNVAVIAVG V1LVaa| STBZEE
S6Z9EPSOOUXD T2’s 69880 [N NVLINWY HLNOS 202 314 OOOT GESEZ # dO If YSN dNOYD ssvdWOD NN1|2t0z/Tz/8 DIONVAVWVG VLvad | ST8ZEE
S6Z9EPSOOUXD| O0'S9 TT82-TOTTE AN ALID GNVISI SNOT SAV HOP ZOE NOILYYOdHOD ONISV]T ATIVL NOILVHOdYOS ONISVATATIVE, Nid} ct0z/0z/8 D|GNVAVINVG Viva) ST8ZEe
S6ZIEPSOOUXD) ZE'TT TOZS-ETOOT AN XYOA MAN JAY HLS TTT 334303 SHINAUVLS TIZZ# SHINGYVLS| -NG| ctO2/6T/8 DJONVAVINVG VLV38}9TSZEE
S6ZSEPSOOUXD| ZTOT STZET AN NAINOOUS SNNIAV GIVNOGIW 828-928 T TL8T-DNI dNOUD IXVL DAN T TZAT-INI dNOUD IXVL IAN INI dNO"D IXVL DAN ANHD} 207/64 /8 DIGNVAVINVG V1V38 | ST8ZEe
S6CSEPSOOUXD| Z2°T9 SOOZ-TTOOT AN AYOA MIN SAV HL6 SZ AN Nvavaane d7‘AN NWVadne NIG|2t02/6t/8 DIGNVAVINVG Viva8 |STBLEE
S6ZSEPSOOUXD| Le'Ty 80ET-PTOOT AN HOA MAN 1S NOLONIHSYM 878 MYOA MAN GEVONVIS JHLITIYOLVuadO GUVONVES DEV NN1[2t0z/6t/8 DJANVAVIAVG Vivag 9tecee
S6ZSEPSOOUXD| 90'PE E0ZE-PTOOT AN JUOA M3N FAV H16 6 SLisVd JI SALVIDOSSY CTIaIdHLUIWS Nai} zt0z/st/s DIONVAVIVG Viva8 |ST8ZEE
S6Z29EPSOOUXD| 00'S SOOZ-TTOOT AN HYOA MAN SAV HL6 SZ. AN NWxVaGNE d7 ‘AN NYVddne NIG] ZtO¢/ZT/8 DIGNVAVIVG Vivad }9TBLEE
S6Z9EPSOOUXD| OO'ET TOG80 fN YOIMSNNYE M3N SL33ULS NVETY 8 HONZYS YOIMSNAYS M3N LUSNVUL IN LISNVUL IN YNYD|2TOz/2ZT/8 DONVAVINYG ViV38 | 9T8ZEe
S629EPSOOUXD| 86'Z 69880 IN NVLIUVE HLNOS 702 314 COOT GESEZ # dINO I YSN dNOWD SsvdWOD NN1\ct0z/9t/8 DI|GNVAVIAVG Vivae|STBZEe
S6Z9EPSOOYUXO| EC'S 69880 (N NV.LINVY HLNOS ZOZ 3LY OCOT GESEZ # JINO If VSN dNOYD SsvdWOD NN1}Z10z/st/s JJONVAVIAVG Vivas |ST8ZEE
S6CSEPSCOUXD| 80'Or 0082-20880 fN HALVM35 GING AVM SNOWINOD OOP, £98 XOINHOS 8 ADINYOIW ADINHIS °3 ASIWHOIIW NIG|@t0%/ST/8 DIGNVAVINVG Vivis|9TBZEE
S6CSEPSCOUXD) OT'S 69880 IN NVLIHVe HLNOS 2Oz 31H OOOT GESET # dINO If YSN dNOUD SSVdWOD NN1}Zt0e/pt/s DIGNVAVIVG Vivae|STBLEE
SGZIEPSOOUXD] ZO'LT 2085-SH006 VD SITADNV SO71 AVM O180M 602 LMOdwIY SATSDNY SOT INI SIDIAUSS JNO VO NNi{2T0z/et/s DIONVAVWVG Vivaa|STeZec
S6Z9EPSOOUXD| TO'EL S6ESE-92880 [N SUNGHINVUA ZZ AYVMHDIH SN OSTE Zid SNINYNG GOOM SONV431S 371 VZZld NAO ADB DIW | Zt0z/Et/8 DIONVAVAVG Vivae|ST8ZEE
S6CSEPSOOUXD| 00°09 €9€2-20024 Xi NOLSNOH J3au1S NOSH3IS3f 009 WI-TOH 1d3d S3NITMIV GALINA DNISANTUIY GaliNnn Badu] 7LO2/ET/8 DIGNVAVINVG Vivaa|ST8ZEE
SPETSPSOOUXD| Se’cy OTZ06 VO STIIH ATH3A3d GATE VIINOW VLNVS TO96' STIIH ATY3A39 ASV ININYd ‘NI ‘SANJWISIANI OFGOY THADSH|ZT07/0T/8 SIONVAVINVG V1VI8 |STSZEe
SPETBYSOOUXD| #0°29 €08T-8h006 VI GOOMATION LSdM GA ATNIARE TOL8 ATHAG/ITAG SNOWY S,ANYSS INI IT SNOW YS S,Auuas| TIW99H|2t02/0T/8 SIGNVAVIAVG Vivaa|STaZeE
ObETBPSOOUXS| SITE TOZT-SEQOG VD S3TADNV SOT CATS Old M T¥S6 YET J¥37 Val/NV¥a8 332409 PET AVE] V3L/NVIE 334303 SHWIIH|ct0z/0T/s DIGNVAVAVG Vivie|ST8Zee
SbETSPSOOUXS| E6°8T bO7SZ XL SVTIVG BAY TISYSVH HLYON TT22 ISWa H31NFO JIWid ALD AINOSUOLS N3AI13-2 INI NFAZ13-Z SIWIDH|2T02/6/8 O[GNVAVAG V1v3a| 9TBZEE
SbETSPSOOUXD| LT'EOT TOEE-SEO0E VD S3TAONY SOT GATS ODId M 6288 NI LAYYVIW YaHSOX SSVITA INI LIAUVW Y3HSON SSvi2 TIWIDH|2102/3/8 DIONVAVWVG Vivad|ST8Zee
SPETBPSOOUXD| O8'TT bO8T-8P006 VI GOOMATION 153M GAIA ATH3A38 00L8: UVLS UL GAIA IYNIS SYVG39 ITI SNOILWuadO OX3GOS avd] 2t0z/2Z/8 DIGNVAVIAVG vlvid|STaZee
SPETRPSOOUXD] Ce’cEL 780E-BBSP6 VI NOLNVSV31d HO GOOMASON Ozrr DVd OL LLY D1 HAUTIGOW LBL, 133 |tt07/2/8 SIANVAVINVG V1LV30|ST8ZEE
SPETSPSOOYXD] 26"be 906T-8b006 VJ COOMATIOH LS4M GATE VO3N3ID VIN TEP, STTHSWM HV2 ‘IVAOU STI HSVM YD WAOY HLOWOD|2t02z/2/8 SIGNVAVINVG V1V34/ST8Zeg
SPISLESOCOUXD] B6'bS £02E-8P006 V3 SATIONY SOT GA1G NOSLUZEOU S StT ASAND 1 ‘GOOd 2 ANIM ANId 33AND Oa | cr07/e/8 SIGNVAVINVG W1v30/ST8ZEe
GYOSLESCOUXD| CO'OT BrODG VO SITADNY SO} GAID ATH3A38 0028 NAD TWOIG3WN IVNIS SYV039 ONIN Vd WALSAS OO uvd|zt0e/2/8 SIONVAVIAG V1Vad/9T&ZEe
LTBETESOOUXD| TE'se 9E006 VO SITASNY SO11S QYE MO09E9 1996 SAD HVAT ATFISHVD O11 ‘SAD HOV3E CTSIsUV dO3|ztoz/se/Z SIGNVAVIVG Viva |9T8Zee
LTS6ETESOONXD| P6'OC COEY-OLZ06 VO STHH ATU3ASS YO GUOIOAE N ESP TSbs Civ SLIM TOPs div ale SUAIDH | 2T0Z/Ee/2 SIGNVAVINVG VLVd8 | OT8Zee
TSZZEESOOUXD| SO’GES £0009 II 3AOUD X19 GY NINONOOW 3 0OZzT SANITSIV G3LINA NI ‘SANITUIV G3LINA auly| toe /T2/z DIGNVAVIVG Visa /9TSZee
#VaL- He] (|anD pala) ssaippy JUeYQayy - ejeq psey SWEN IWeYyosaIA] - EJeQ p4sey apo> ayeq] apop snyeis pie uo} JaquNN
qunowy asuadxy uoyesuesl} uoyoesues | awen-eyegpseg|  - aaAojdiry
asuadxy ~asuadx3{ pies - 93e9

 

 

 

 

 

 

 

 

 

 

 
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T898PTSOOUXSD| OO'T 8b006 VO SIADNY SO1 GY SNUNG JDYOIS S GET 952 101 XYVd ¥140 AUD SITIDNV SO7 40 ALID uVd|ZEOZ/ST/S DIONVAVINVG Vivad | STSZEE
COCEPSHOOUXD| ZP°Le £9SE-20806 VD HIVad DNOT SAV JONVUO p0Z ONIYALVD JAH3 WE ONINALVD 33HD WI OWN | Tt0¢/TT/tT DIONVAVIVG V1va8| OTBZEE
990P97SOOUXD| OS'0 8¥006 YO STJDNV SO1 GY SNUNE SDYOID S GET 992 LOT HUVd W140 ALID SATADNV SO1IO ALID uvd|@10z/27/3 DIONVAVINVG ViVde |STaZee
LT86TESOOUXD| O0°6T 8PSE-PS206 V2 HOVIE VSOWYSH GNVHLS SH! OOET SSNOH HOV3G YSOWY3H ITI ASNOH HOVIS DtdloVd UH|2t02/8t/t DIGNVAVINVG Vivad | 9TBZEE
990P9ZS00YUXD| OO've OTZO6 VO STIIH A1U3AZ8 VOINOW VINVS JILL) TE96 TOT INVSY) 391 SADININdS INE S3NVIdND STIANTEdS SIWIDH|Zt0z/T2/9 DJGNVAVWIVG Viv38 | ST8ZEe
E96ELPSOOUXD| GP'TL £2€C-7TZ06 VI STH ATH3AR8 GATE SUIHSTIM TZ96] OHSdOHD LAWNOUD 3VIINI3UO OHSdOHD JAWHNOS dvaINaayS TIWD3H|210¢/9/6 IGNVAVWVG Viva8 9TBZEe
BETPSZSOONXD] OO'2T 229S-S7006 VD SATJDNV SO1 GATE AUN.LNAD M TELS] ONIYYd X¥1 NOLIIH ONINUVd XY1 NOLTIH uvd]etoz/2t/9 DIONVAVIYG VLV30 | ST8ZEE
SEBTSOSOOUXD) 08°S £S€€-97006 VO SSTSDNV SO7 GATE LISNNS M 6T6L €S JV31 Vale NV3@ 33ddO) ES 3VIT V2 8 NV38 334409 SIWI9H|210¢/6/ DIGNVAVINVG Vivad STBZee
COZEPOPOONXD| SE'ZT BI TY-8h006 VO SITJONY SO? GATE VO3NAID V1 S 00 evr AvaT VAENVSE 333409 EbT dvaT VaLNV3a 333409 SIWI9H|T102/e/TT SJONVAVWIVG Viva |ST8Zee
SECSEPSOOUXD| OZ'OT 92880 fN ATHAYIWOS 823 ALY OUNSHINVES © S3ddOHS O8b6 SHDNGUVLS NOLLVHOdHOD SHINGHVIS ANS|2t0Z/E7/e DIONVAVIVG Viva [ST8Zee
990P9ZS00YXD| 6b'7s OTZO6 VO STIIH ATUSARE GATE VOINOW VLNYS TO96| STHH ATH3A39 33V9 ININVd ‘ONI ‘SLNSWISIANI OFGOU TIWSSH|zZt02/Tz/9 DIGNVAVIAVG ViVa8 | STBLEE
S90P9CSOOUXD| GEEsT STT2-Th8Z6 VO SAOUD NAGHV9 BAY NVWdVH) Tepe WO Y3aNyvM JAIL ONE ST8V2 S3NUYM JWI Hd] Zt0¢/2z7/9 DIQNVAVINVG VLWad/STBZEE
CLEPBBDOOUXD| ZT2zT LO6T-8b006 VI GOOMATIOH LSIM GA18 VOANID VIN OTe OHIAVATIVG GOOd TW3au INI Gdu TINDIH|et07/2t/% SJONVAVINVG Viva /STSZEe
BET PSZSOOUXD| 006 E0ST-09580 IN STIASNLL Y NOLUNOGUVH NOLNSYL SZTT TERT SAVOITIASNLIL VSN dNOUD SSVdINOD ANS|2t0z/9/9 DJGNVAVWVG VLVv38|9T8ZEe
SEZ9EPSOOUXD| STG 69880 FN NVLIWY HLNOS 202 3LY OOOT GESEZ # dIND If WSR dNOUS SSWdWOD| NNI|zt0z/oz/8 SIGNVAVINVG Vivad |ST8ZEE
ZLTPBBYOOUXD} OT'B9T PO8E-SHZ0E VI OGNNOSS 13 1S NIV TSZ NOfid NADI aSIHINVYS NOfIG N3XOIHD TUNIDH| 2T0Z/9F/2 DIONVAVINVG Vivad |9TBZEE
SPETSPSOOUXD} SS'bT ZOEP-OTZ06 VO STHH AINIASE YG GUOdGI N E9y TOPS Giv SLY T9pS div ALY SUNDDH |2102/62/8 SIGNVAVINVG Viva8|STaZee
SPETRSOOUXD} OS'0 8P006 VO SIJDNV SO7 OY SNUNG IDYOAD S GET 9S2 101 AUVd V140 ALID S2T39NV SO1J0 ALID ud] Zt0z/bz/8 SIGNVAYWVO Vivig |ST8Zee
T89BPTSOOUXD| OO'Z TOST6 VD SSTSDNV SOT GATE WIIONDYIN 6ZeTt ONMdd GAWALIW ALIS V1 SATADNV SOT IO ALID uvd|2T0z/st/s OIGNVAVINVG Vivad|9TRZEe
990P9ZS00HXD| 96°5 ST£2-9F006 V3 SITZONV SO1 GAIG LASNNS M OE9Z| 6T6S# 331530 XIG34 INI ADAIO X03 d03|zt0z/st/9 SIONVAVINVG Viva |9TBZEe
ZLTbSBPOONXD| O0'OST 9€006 VO SATSONV SOT ‘HO ZAOBD HINOS TIT HOLS 3139S LAXNVIW SHAWYYd OTT SLS THUG SHOWTID 51s|zt0z/T/z SIGNVAVWVd Vivid |STBZEE
LBEGBLPOOUXD| Th'pz G0SZ-82006 VO SATSONV SO1 GATE LISNNS Mi £504 JASNNS ZOPS SHINGUVIS LISNNS ZOPS SHONGUVLS SWNDDH| T10¢/22/2T SIGNVAVWVG Vivaa|9TaZee
GETLE9POOUXD| OO'OT SEDTE VO ONIONA EOT LS 8Z6ST JIIAYAS ONINYVd ALITWND GL1 AuVd NMOL uvd|tT0¢/2/eE DIONVAVINVG Viv3d|ST8ZEE
EELSOTSOONXD| OO'T 87006 YO SIJDNV SO1 GH SNUNB JDUOID S GET 9G2 LOT AYVd V140 ALID SATBONV SO1S0 ALID uvd|210¢/6T/¢ DIGNVAVIVG Viivaa | 9T8ZE€
S6Z9EPSOOUXD| #e°ZT ZTOOT AN XHOA M3N LS NOLSNOH M ZET ATPTSSINI DTI MaLs NMOS yua|2t02/8t/8 DIONVAVAVG V1V3d |9T8 Zee
PO6PLEPOOUXD| $2'0 8006 VD STADNV SO1 GY SNHNE 3DUOR S GET 9S¢ LOT AYVd V140 ALID STIZONV SOT AO ALID uvd|2toz/oe/t DIONVAVINVG Vivid |STSZee
SOGEBZSOOUXD| LZ'OT OTZO6 VO STUH ATHSAIG GATS YOINOW VINVS TO96 STH ATH3A39 3300 ININVd “NI ‘SENGIALLS3ANI 03008 TIWODH|2T07/22/9 OIGNVAVINVG Viva [STBZEE
990P9ZSOOUXD| Ge’ETT OTCO6 VO STTIH AIU3A39 GATS VOINOW VINVS TO96 STHH ATU3A38 332 ININVd ‘INI ‘SLNSWIS3ANI O300u TIWI9H|Z102/07/9 DIONVAVIAVG VIV358 | 9T8ZEE
EELIOTSOOYUXD) Ob'OT 8ITb-87006 V2 SATADNV SOT GATE VOSNAID V15 00E, €pT S37 VELNV3E 394409 EFT WAT V3INVA8 3394409 SIWIDH|ZT0Z/o2/¢ DIONVAVAVO Vi1V30|9TBLEE
EELSOTSOOUXD| SZ'E 88006 V3 SIZDNV SO7 GY SNHNG 39UORD S GET 9S2 LO WWVd ¥140 ALID STONY SO1 JO ALIS uv¥d|@t0z/s7/p DIGNVAVINVG Viv3d/9TBZEE
LEEGBLPOOUXD] OL'Ov ZOEC-SEONG VO STTZDNV SOT GATE ODid M 2298 ODId AUBAVE ZLUVMHIS ‘ON! VAY] STADIH| T10¢/pT/2T DIGNVAVVG Viva8 | 9TBZEE
LEBETESOOUXD| @6'6y OTZO6 VO STIIH ATH3A3d GATE VOINOW VINVS TO96 STUH ATY3A39 33V0 ININVd ‘NI ‘SLNZWIS3ANI O300U TIWD9H [2T02/¢e/2 SIGNVAVINVG Viv3a|9T8ZEE
T898HTSCOUXD| OO'ST £2058 ZV XINJOHd Z0-TO-b2 SIN SS 3LS HO GNZYHAS M TObZ B34 LL SSAUdXxd NVDIMAWY 333 LAL SSAUdXS NVIIEZNV| 0333[2t02/Te/s DIONVAVINVG Vivad |9TSZee
SOGEBZTSOOUXS| 026 €O9%-0T206 V3 STHIH ATUSARG YC ATHSAIG N 82Y, 343309 SHINGUVLS SOS ATHAAIE SHINGUVLS SIW39H[210z/92/9 DIONVAVINVG Vivaa|9TaZee
E96ELPSOOYXS| 00°07 £06%-8P006 VI GOOMATION 153M GA1@ VO3NSID VIN PT OHAM/ATIWG GOOd W3u ONI GJ8 SIWIIH{2T0Z/0T/6 SIQNVAVINVG Vivae | STBZEE
EELSOTSOCUXD| OE'TZ 8TTb-8h006 VO STTJONY SO1 GA18 VOANSID V1 S O0E €bt ava] VaLNV3E 334409 EvT JV31 VALNVAG 334409} SIWIIH[2102/6T/9 SONVAVINVG Viv3d|ST8ZEe
SEZ9IEVSCOUXD| GT'ZT 8BBE-PTOOT AN NUOA MAN Z INH LS HLb MA TZT NOWVHaNAaS ADIN NOLLVHANAD FING] ANS|Z107/02/8 SIGNVAVWVd ViLvaa| 9T8ZEE
SEBTSOSOOYXD| OO'T 8b006 VI STONY SOT GY SNUNE FDUOI S GET 952 LOT Hud V1dO ALD SATADNY SOT SO ALID uvd(ZL0z/TT/¢ SDIGNVAVIAVG Vivaa | ST8ZEc
SLBLTBPOONXD] Zb'EST STTZ-T#826 VI SAQUD NAGUVD SAV NVR Tepe WIWOD Y3NYVM SWIL NI S182 YENYYM SIL tHal2toz/e7z/t DJ ONVAVINVG Viva |ST8Zee
TBOBPTSOOUXD| SZ'ST YESb-OFCO6 VO STH AINSASG TT ALS Yd O3OU N Tt SILUV 3IN3SSiLVd V1 GIHWN SHUV SI¥aSSILVd V1 GIHVN SIW39H[2T02/z2/s DJONVAVVG ViVa8 STBZEE
LBEGBL~008XD| 00°62Z bOBE-SPZ06 VI OGNNDAS 14 Ls NIVW TSz NOfid N3ADIHS SSIHONVYd NOFG N3ADIHS FIWIIH| Tt0z/Te/et DIONVAVINVG Vivad | ST8Zee
SELTP9ZSOOUXD| OO°2T 229S-SP006 VO SITZONY SO? GATE AUNINGD M TTZS OND Vd XV1 NOLIN ONIMEVd XV1 NOLIIH dvd [Zt0z/et/9 SIONVAWWIVG Vlva8 | STBZEE
CLTPBBPOOUXD| bb'y9 OEGS-TTZOG VO STIIH AIUAAAS OOT # GATE BYIHSTIM 0298 ddVO S YBONVXITV ONI ADSLHOU TIWD9H|2T02/TE/T DIONVAVANVG VLVI8 | STSZEE
ZLTPB8POOUXD| O6°LT POEC-TT206 YO STH ATHAA3E GATE AUIHSIIM 82E8. 8 4V31 VIL/NV38 335309 $8 V3 V3L/NV3@ 234409 STWIDH[2t02/e/z DIONVAVWIYG V1V3d | 9T8ZEE
S90P9ZSOOUXD| BETZ LOvE-9P006 VO SAISON SOT GATE LESNNS M 2252 OOT SHd1V¥ ANVdINOD AUJDOHD SHA TWH SIWI3H[2t02z/Te/9 OJONVAVWVG vivid | ST8Zee
TLTYBBPOOUXD| SE'EZ TTT b-87006 V3 SATADNV SOS GUE M O28: SHL'VA-WAW2I NOLLWUOdHOD E OASHIVE SIWO9H |2102/62/2 DIONVAVAVG ViLvae | STSZEE
SEBTSOSOOYXD| 27°99T ETSP-OTZOG VD STIIH ATYSAZE BC ATUSAR8 N SEP: STII ATH3AIG SAXYVHS NI STIIH ATUZARG SANYVHS: TIWI3H|2102/6/r DIGNVAVINVG VLV3E{STBZEE
SEZ9EVSOOUXD| OO'vZ S222-92880 [N JTIIAUZINOS 1S NIVIA M 86 SONI dSNVUL NVOINAWY TY ON] dSNVUL NVOIBZINY TIV] ANYD|2T02/6T/8 DIGNVAVINGG VIV38 | STSLEE
LBEGRLPOOUXD| S6°AT 60SZ-82006 V2 SATAONY SO1 GATd LISNNS M L504: LISNNS OPS SADNAUVIS LASNNS ZObS SHONBUVS| SWNDIH|TTO2/27/2T OIGNVAVIAVG Vivad ISTBZEE
PIEPLEPOOUXD| SE'BET vOBE-SP206 VD OGNNDAS 73 IS NIV TSZ: NOMNG N3XDIHD SSIHINVUS NOSIC NAYIIHD TIWIDH [Z102/6t/t DIONVAVAYG VLWd8 | ST8Zee
E96ELYSOOUXD| SS°ZT £08T-8P006 VI GOOMATIOH ISAM GATE ATESARE E628 8b d'Va1 Val 2 NV39 335403 Bb 4V9I VALS NV3I8 334303 SUNISH| 2102/28 /6 DIONVAVINVG Vivid |STSZee
SPETSPSOOUXS| TT'OZT bpES-9b006 VI GCOOMATION LSaM CAI VIINOW VINVS TZ8Z TOHLEAUVAW SGGOJ AIOHM TOHL3IAUYW SGOOd JIOHM TWOI3H|2502/08/8 DIONVAVINVG Vivad 9TEZEe
ESG6ELPSOOYUXD| SZ'0 84006 VD STSDNV SO1 GY SNUNG IDYOIS S GET SZ 101 HUVd ¥1dO ALID S3TJONY SO1SO ALID uvd|2T0z/0T/6 SIGNVAVIAVG VIVI8 | STBLEE
SETPOZSOOUXD] 6S'ST TOET-87980 [N ONIMZ OY HILODS 09¢| SONIM3 GHVALYNOD d7 LISI dSOH VWHSYAH yua|ZT07¢/9/9 D[GNVAVINVG Vivad |[ST8ZEE
ZOSTITSCOUXD) OG'TT 60TE-8/006 V2 SSTJONV SOT GA19 NOSLYAEOU N PST TZ8S SHONGUVIS TABS SHONBYVLS aw |zr07/e/s DIGNVAVIVG VLW38 | STSLEE
LTUSBTESOOUXD) OO'OST SEONG VI SZIADNV SOT ‘UG SAOHD HLINOS TIT HOLS STS JSAM VW SYA Vd 977 2LUS THING SHOWND Dis|eroz/e/t DIGNVAVIANVG Vivad }STRLEE
GPISLESOOUXD| G9°Pe LOZE-87006 V2 SATZDNV SO1 GATES NOSLY3GOU S SPT A3AND | ‘OOd °8 ANIM ANI 33AN9 SWADDH|2102/¢/8 SIONVAVINVG Vivde |STBZEE
T89BPTSOOUXD| 00°% TOOT YO SATSONV SOT GATE VIIONDVIA 622TT ONAYd GIYALAW ALID V1 SATION SO1IO ALID u¥d|ZT02/ST/S SIONVAVIVG Vivaa |STBLEE
ZLEPBBPOOUXD| St’ pORT-CTZO6 VO STUH ATMIARS GATE SUIHSTIM vr86 LTUHE TOS SHONGUVIS LTIHE Tops SHINEYVIS| SIWIIH[2102/0e/T SIONVAVINV Vivad | STBZE€
#Val- wep] — n> payia) ssaippy JUEtfoIayy - ejeq pleD BUEN UEYDaIA - eyeg pued apop ayeq] epop snyeys AED UO! JaquUnN
qunowy asuadxg uopsesuest] uonoesuely| aweN-ejyeq piez] - aadojdwig
asuadx3 -asuadxy pien - ae)

 

 

 

 

 

 

 

 

 

 

 

 
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T898PTSOONXD| Ob'8 O9t-OTZO6 VO STTIH ATUSARS YC ATHSAE N 827 333403 SHINGHVLS SOS ATHIAIG SHONAYVIS| STD9H|72t0c/e7/s D[ONVAVINVG VLV38 /STaZeE
LIBETESOOUXD| EO'EGT STIZ-T826 VI JAOUD NACUYD AV NVINdVHD Tred, WWO) Y3aN8VM JIL NI S18VO YANYVM 3WIL IHd| 2t0e/ee/2 DIGNVAVINVG VLV34}9TSLEE
ZOZEP9POOUXS| SP'TET 280E-88Sh6 VO NOLNVSV4ld Yd GOOMASOY O¢br OVd DIL LILY 11 Ul ALIIGOW L31v 133 | T10¢/S/tt DIGNVAVWVG VlV38/9T8ZEE
ZLTPBSHOOUXD| 00'S BEGT-8b006 VO STIADNY SO1 CATE VOANSIO V1N COT SDIAYAS ONIANVd LIWA ITT SHOLSZANI B9T-TEPE uvd|2t0Z/2/€ DIONVAVINVG V1V38 }STSZEE
BETPIZSOONXD} SS'0Z 8TTb-8h006 V2 SITAONV S01 GATE VOINSID W715 00€| €bT 4V51 VALNVA 33430) EVT 3V31 VSLNV38 335309 NS|Z102/8/9 SIGNVAVVG Vive |9TaZee
TS9BYTSOOUXD} TE'sS LOTP-BY006 VO SITZONY SO GATE SLNIDIA NVS S 08 QUVH LNVENVLSIY NOISIA ONIUdS. D3aW | ct02/22/s DIGNVAVINVG Vlvaa|STaZee
SEZ29EDSOOUXD| SETS TTOOT AN HYOA MAN 133415 HLST SAM SSE SNV1 STEVI O71 LNVUNVLSIY ANNSAY Nia|ztoz/st/s OIGNVAVIAVG VIV59 | 9T8LEE
CLT VBBYOONXD| ZS'PT 8006 VO SATZONY $01 GUVATINOS ATHIAIG 0028 UVIS UL GW IYNIS SHVGID ITT SNOLLVH3dO OXIQOS; SIWIIK[2t02/82/2 SIONVAVING Wlva8 |/ST8Zee
SEBTSOSCOUXD| V6"ET LT b2-8b006 V2 COOMATIOH LSAM GATE ATURAR8 6E06 OT# SWE TOLSING SNI SWHY4 TOLSINE) SUANDIH|Zt0z/Tt/y SLONVAVINVG ViVad jOT8Zee
ESGELPSOONXD] SZ°S6T €O9E-TL206 V2 STIIH ATMAAad GATE NOSLUSEON S Evy ONIMALVD OGAYs TV INI ONINSLVO OOFNSTY, THIS | 2t0z/et/6 SIQNVAVIVG Vivag |9TSZce
S6Z9EPSOOUXD| OFS 9£880 {N STHAWSWOS 823 31LY DUNEHINVHES © S3ddOHS O86 SHINBUVIS NOLLVHOdUOD SHONAYVIS! ANS|2TO¢/Tz/8 SIGNVAVWIVG V1V38|9TSZEE
S6ZSEPSOOUXD| 28°9 92880 [N ATHAYZINOS 824 3.LY SUNGHINVEE © S3ddOHS O8b6 SHINBUVIS NOILVHOdNOD SHONGUVIS 4us[Zt0%/07/8 SIAONVAVWNVG VlV38/9TSZeE
SGZ9EPSOOUXD| O78 69980 fN NVLINVH HLNOS 20z FLY OOOT GESET # dINO [f VSM dNOYD SsvdWOD Nn1[2t0z/sT/8 DIGNVAVIUIVG VLVa8 |STSZee
Z9STTTSOOUXD| O0'OST 9€006 Vo SATADNY SOTHO SAOUD HLNOS TIT HOLS STSS LANUVIN SUBINNVd ITT 3S THYG AYOWTID: 51s|2t0z/ot/s DIONVAVIAVO ViIVa8|STBLEE
GLBLZTEPOOUXD) OO'TZ 8SE-PS206 VO HOVE VSOWY3H ONVULS 3H OOET SSNOH HOV3E VSOWY3H 971 SSNOH H3Vad DtioVd ‘WLH| 2102/9/T DIONVAVIAVG V1V35|STBZee
CLEpaBPOOUXO| vT'yT 0094-9£006 V3 SATAONY SOT OTA 31S LS GUE M EEED PLT SNid LSOD bZT Sd LSO5 403[@t02/2t/e DIONVAVINVG Vlv8|STaZee
S96EBZSOOUXD) 85°42 6045-22006 VY SATJDNV SO1 GATE LAISNNS M 6075 AUSAVE NOS 8 H3HLV4 NVIMALU2t TAAWVS: SUNIDH|2T0z/92/9 DIONVAVIAVG ViLVa8 |ST8ZEE
COSTIESOOUXD]) ZO‘bOT TWOhe-OTZO6 VO STU ATHIAIG GATE VIINOW VINVYS TOSS STH ATHIAIE 34AV3 ININVd “ONT ‘SSLNJALLSIAN! O300U TUNIS |ZT02/tt/s DIGNVAVIAVO V1vaa|ST8Zee
SELP9ZSOOUXD| Gb'OT LO8S-SPO0G V3 S2TJDNV SOT AVM CTYOM TOZ XVITLHLYON SHINEYVIS Ldul¥-XVT-LSOHSWH ANS} eTOZ/b/9 DIGNVAVIAVG Vi1V38/STBZEE
CLTPBBHOOUXD| OT'BST POBE-SYZO6 WO OGNNDAS 73 IS NIVIN TSZ NOfid N3XSIHD ASIHINVHS NOFId NAYDIHD TIWOSH|et0z/T2/z DIONVAVINVG Vlad |ST8Ze€
S90P9ZSOOUXD| SE'ET CETZ-9E00G VO SITJONY SO GATE ATHIAT S282] YANOUR T2OVE AHL IITSTIOVE SATA SIWIDH|2t0z/T/9 SIGNVAVINVG VV | ST8ZEe
SPETSPSOOUXD| LO°O0T TOEE-SE006 V2 SATSDNY SOT QA18 Old M 6288. ONT LUV YaHSOW SSVI13 SNI JEXUVW YIHSON SSVIIS THWDDH[2t02/9/8 DIANVAVINYG Vlvaa|STaZee
S9GESZSOOUXD| 66'GP 906T-8P006 VI GOOMATIOH 1S3M GATS VOINAID VIN TEP STLHS¥M YV2 IWAOH DTT HSYM YY WAOY HLOWOD|2102/€/2 DIGNVAVIAVG VLV38| 9TBZEE
SVETBPSOOUXD| EZ'ET O0bL NO ATHAST LUE H3TIIN *S OZY DINOUIO313 92 NOINN ANVdWOD 99 SdITHIHd. uval2toe/te/8 DIONVAVINVG Vivad|ST8Zee
990%9ZS00UX9| 68'ZET CBOE-88SH6 VI NOLNVSW31d HO GOOM3ASOU Ozh, Vd OL VSL O77 ‘I ALNIGOW Lely OHd| @t0z/s/9 JIONVAVINYG Viva |STBZEe
SbETSPSOOUXD| E4'98 OFZ06 VO STHH ATH3A38 GATE VOINOW VINVS TO96 STMH ATHRA3d 33V9 ININVd “INI 'SLNQWAUSZANI OFGO TIWIIH|2t07/22/8 DIONVAVIAVG ViVa8|ST8ZEE
SETPOTSOOUXD| ¥2'8 €0ST-O9S80 IN ATUIASNLL Y NOLYNOSUVH NOLNIYL SZTT. TERT FSVISTTASNLLL YSN dNOYD SSVdIWOD uvd|ztoz/s/9 DIGNVAVINVG V1¥3d|ST8Zee
SECSEPSOOUXD| OZ'8E €0Z2-94880 [N STHAYRWOS 15 NIV M 2T {SVSVM 3Tt OWIHS! NIG] 2107/22/38 DIQNVAVINVG VLvaa| ST8ZEe
SO6EBTSOOUXD) OF'ZT BESP-69006 VI S312 NV SOT GAT VOINOW VINVS 6528 SN3dUD YAGNIL INI dNOUD LNVYNVISIY dAL| SIW29H[2t07/6t/9 DJONVAVIAVG VlVda|ST8ZEE
CLTPBSPOOUXS| OO'ST 86006 VI GOOMATIOH LSIM 8 Lav YG TIYMS N THT: G3AVE AWWINA HAITIAN LH VOUVA SINDSH|Zt0z/sT/Z DIONVAVINVG VLvae| STBZEE
SYSSLESOOUXD| 6b'28 OT206 VO STIIH ATH3A39 GATE VIINOW VINVS T0396! STII ATH3A38 349 ININVd “ONI ‘SLNAWLS3ANI OFCOH TIAIDH[2102//8 OIGNVAVINVG Vlvaa|STaZee
990¢9ZS00UXD| OSES EO8T-8b006 VI GOOMATION LS3M GA1a AIUZARE EGL8| 8b JV31 V3L 8 NV38 334309 Bb S37 VAL 8 NVAG 333409: SUNDIH | 2t0z/Te/s SJONVAVINV Vlv38/9TBZEE
CLTbBREOOYXS| OO'6b SEES-PESEE Td Vd JAS GATS YSMOHNGISI3 OTL, SHVNIW3S GALVAILOW L325 | ‘SUVNIWAS G3LVAILOW 135 Qaas|TTO7/9T/TT DIONVAVWYVO VLV38|ST8ZEE
TS898YTSOOUXD| LEST STT2-Tb8Z6 VI SAQUD NAGUYD JAW NVIWdVHD Tred WO) YaNUVM SINE ON ATS VO YIN SLL lHd[Ztoe/e7/s DIONVAVINVG Viva | 9T8Zce
GZBLTSHOOUXD| 90°CET ZB0E-B8Sb6 VI NOLNYSW31d Hd GOOMASOU 02h: OV OULLBLY O71‘ ALIIBOW Let 139|2t02/s/t DIGNVAVINVG V1Lv39|ST8Zee
LBEGBLYOOUXO| SZ'0 8b006 VO STZDNV SOT OY SNUNE SDYOID S GET 9S2 LO} AUVd V1 dO ALID STTFONY SOT IO ALID Uvd| TiO¢/pt/zr DIONVAVINVG Vlwad|STBZEE
GEOSLESOOUXD| Ev'EzT ETSt-OTZO6 VO STHH ATHIAIE UG ATNIARG N SEP, STUH ATHIARS SAMYVHS NI STUH ATHIARE SAMHVHS: THAIS | 2t0z/0E/2 DIONVAVWVG Vilvag|ST8Zee
L8E68LP00UXS| SO’SST bO8E-SPZ06 VI OGNNDAS 13 LS NIVAI TS2| NOG N3NSIHD aSIHINVYs NOM NFXDIHI TIWIDH |[Tt0z/st/zt DIGNVAVAVG Vivad|ST8Zee
EELIOTSOONXD| OO'OT PI9S"SPO0G VO SUTSDNV SOT GATE AUNINSD M SS8S XV18TZEE LLOIMBVIN GV TWNOILVNUSINI LLOWYVA FH|Zt02/¢/b DIGNVAVINVG vlva8|ST8ZEe
CLTPBSPOOUXD| OO'ZEE POBE-SPZ06 VD OGNNDAS 13 LS NIV TSz NOfIG NAXDIHD JSIHINVES NOM N3xDIHO TIWIDH | 2t0z/¢2/e DIGNVAVINVG Vlvad|9TaZee
LBEGBLPOOUXD| GEES SOZT-8E006 VO SITAZDNY SOTZAV ONVIHOIH N 8STT YANYOD JH) YINYOD SHL! TIWIDH| TrO2/Et/2t QJGNVAVWVO VLV39 | 9TBZEE
COZEPOPOOUXD| 8O'ETT TOTZ6 VD ODAIG NVS GAIG AuVd T ALNOUAAVE ODFIGNYS NOLIIH DTI GUVATINOS AUVd INO Daw | Tt0¢/zt/1t DIGNVAVWVG V1V3a|9T8ZEE
ELTBETESOOUXD| SB'ZT E08T-8P006 VI COOMATION 1S3M GATE AlU3AT8 £628 8b dVIT V3.1 8 NV3E 334409 Bb dv3I VAL 8 NVad 43340) SIWI9H|2T0Z/0T/2 DIONVAVINVG Vlad /9T8ZEe
SGZ9EPSOOUXD| Teor S6SE-92880 (N DUNSHINVHS ZZ AVMHOIH SN OSTE| Zid ONINUNS GOOM SONV#aLS 311 VZZid N3AO YDIHa Nia] 2t0z/9T/8 DIGNVAVVO Vivae|9Te Zee
EELIOTSOOUXD| OP’? OOT?C-SSEGT Vd NYAATVW OPT 31S NI G73148430 OOT SONIMYVd GATS LISNNS T0726 ONIN Vd GATE LISNNS TOz6 NS] c10z/€t/e DIGNVAVIAVG VLV38|ST8Zee
LBEGBLPOOUXD| 09'8 £4TS°9t006 VD GOOMATIOH M GAIA VIINOW VLNVS TOGZ| @TS9 SHINGUVIS ZTS9 SHINGUV IS SIWIIH| TLO¢/ET/2T D/QNVAVIAVG Wiva8|ST8Zee
COSTTTSOOUXD| Z9'EL TObt-OTZ06 VD STH ATHSAAG GATE YOINOW VINVS TO96 STIH ATU3A38 33dVO ININVd “ON ‘SLNSIAISIANI OFGOU TIADDH|2102/T/s SIGNVAVIAIVG V.LVa8|9T8ZEe
892S66P00YUX9| OO'T 8¥006 VO SATJONV SOT GATE ATU3Agg 0058 98h YALN3D ATUAATG I SINZLSAS ONY TVHLNaD, uvd|2T0z/97z/€ O|GNVAVIAVG W1va4|9TaZee
SOGEBZSOOUXD| 00°C 8~006 V2 STAZDNV SO1 GY SNUNG 3DYOIO S GET 9S2Z 107 HuVd V1 40 ALID SSTADNY SOTO ALID uvd|2102/62/9 DIGNVAVIAVG vlvaa|STBZEe
S90"SZSOOUXS] SZ’Ez SOTE-8P006 V2 SJTIONY SO1 GATE NOSLHABOY N OT T285 SHINGUVIS TZ8S SHDNGUV.LS| SIWIBH| 2t0z/sT/9 DONVAVIAVG ViVa8|9T8ZEE
SvETSPSOOUXD| 09°6 8ZTS-9P006 VI GOOMATIOH 154M ZOT 315 GAIA VOINOW VINVS TO6Z 6229 SHINGUVIS 6729 SHONGYVLS| STWI9H|2102/9/8 DIGNVAVINVG V1V38 | STBZEE
ETRBETESOOUXD| 06°6 6052-82006 V2 S3TFONV SO1 GA1d LASNNS M 2502) L3SNNS ZOPS SHINGUVIS LASNNS ZOPS SHINGHV_LS| SUNIDH| 2t0z/p2/2 D{ONVAVINVG Vlvad|ST8Zee
ZLTPBBPOOUXD| 0O'6Z PESEE Td VdWIVL SO ALINS GA1S YAMOHNASIA OTL. SUVNIWISS GALVALLOW 135 ONE NIMS Q333| Tt0¢/2/TT DIGNVAVIAVG VlV3d/9T8ZEE
SECIEPSOOUXD| OO'SE €9E4-20022 XL NOLSNOH LaauLs NOSY3S430 009 II-fOH 1d3d SSNITUV G3LINN INI SANIIEIV GALINA Haduiv] cT02/E27/8 DIGNVAVAVG Vlvad|9T8Zec
LTSETESOOUXD| 09°22 €O8T-87006 V3 GOOMATIOH 153M GATS ATHSARE £628 Sp SVI1 VAL 2 NV3E 334409 Bb SVFT VAL 8 NVIa 33409 SWISH |2T07/S7/2 DIGNVAVIAVG V1v38/STBZEE
ZLTPBBPOOUXD| O¢’ST TPSE-TTZO6 VO STH ATUIASE CATA SIdIWATO M S006 DIdWAIO TZ90 SHONGUVLS JIdINATO F290 SHONGUVIS SIWIIH|2t02¢/2/E SIONVAVINVG Wlvad|STaZee
@9STETSOOUXD| ZT'EET C80E-88S6 YO NOLNVSVald Ha GOOMASOY OZbb DVd STL Lv 971 ‘I ALNIGOW Pely OHd|2t0¢/s/s DIGNVAVINVG V1V38/9T8ZEE
OPETSPSOOUXD| 00'OT 8¥006 VD STTZONV SO7 GAT AlU3Aad 0028. ANID TWIGS IVNIS SHVGID OND Vd WALSAS OOdINY u¥d|2t0¢/2/8 SIANVAVIANVG V1V38/ST8ZEE
SGZSEPSOOYUXD| OO'SZ £9EL-ZOOLZ XL NOLSNOH LI3ULS NOSHASSAT 009 WO-fOH tdi SANITHIV GALINA INI SANITULY G3LINA 33duIV|Z102/E7/8 DIONVAVINVG V1V38/9T8ZEe
#vaL- wey] n> payia} SSeippy JUeYaYy - eje2q ped aWeN JUEYIIBW - eq peg apap aq] Bpop snyeqs piep uo JaqunN
qunowy| asuadxg UoyIesuerL] UORsesues,| SweN-eeg pled] - aaAojdusy
asuadyg ~asuadx3 pie - ayeq

 

 

 

 

 

 

 

 

 

 

 

 
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GETLEIPOOYUXD| 86°SE T¥be-BP006 VD GOOMATIOH 1S3M GA1g ATHAARE F006: 14 ATHaAad JOVNOW31 dNOYS INVENVLSIY IGYVNOW?T SIWI9H|TLOZ/ST/TT SIGNVAVIAVG Vivid |/ST8ZEE
B9ZTSEGPOOUXD| SB°EZ €08T-87006 VI GOOMATIOH LS3M GAT AlUSAAG £628: Sv 3V31 VIL 9 NVAG 334409 By AVaT VAL 8 NVA 33dd09 STW39H|2t02/8/€ DIGNVAVWYG WLVad | STBLEE
B9CSEEPOOUXD| SB'OT 9TS2-SZ006 VO SAIZONV SO1 GATE VOINOW VINVS OOTZT €TZS VONW VINVS SHONGUVIS ETS VONW VINVS SHONEYVLS, SIWIOK| ZT0¢/2T/E DJQNVAVWVG Viva | ST8ZEe
6ETLE9VOOUXD] CO'ET SEONG VD STISDNV SOT “HC SAOUD HINOS TIT YOLS S735 LANNVIN SUZ O71 LIS THO SHOWS SIADDH| T102/82/TT DIGNVAVINVG VLV30|9TBZEE
89TSEGPOOUXD| TS'EST STTZ-TH8726 VI JAQUD N3GYVD FAV NVINdVHD Tree WIWO3 Y3NYVM SWILL ON} ATS USNYVM JWI IHd} 2t02/2z/€ DIGNVAVAIVG V1V38 | 9T8ZEE
B9TSEGPOONXD| ES'TOZ TOEZ-ZEZ06 VO ALID HSAIND GATE NOSLHABOY OSLE IWOD'3LIGVT INI WOo'sLl8v1 TIW29H|210z/s/¢ DIGNVAVIAVG Vl¥30|STSZEE
G6TLE9P00UXD| 16°02 LO6T-84006 VO COOMATION LS3M GATE VO3SNIID VIN PTY] OHAM/ATIVG GOO TV3¥ INI Gsy SIWIDH| TLOZ/LT/TT OIGNVAVINVG ViV38 | ST8ZEE
SELLE9P00NXD} 00'S 8b006 VO STADNY SO1 GH SNUNE ADUOIO S GET 9S2 101 HVd ¥14O ALID SATAONV $0140 ALD u¥d|TLOZ/Te/TE S|GNVAVINVG Viva |ST8ZEE
GETLESPOOYXD} 00'8Z ZOEZ-SEO0E VD SATSONY SOT GATE ODId M 2298 ODid ANBAVE ZLYVMHOS “ONT VAS STND3H[T10z/9/2T DIGNVAVWIVG Vivad | ST8ZEE
GETLESPOOUXD| TESET TOEZ*ZEZO6 V3 ALID USAIND GAG NOSLUFHOY OSLE WOd'3L18V1 ONT WOODS Lav] TIWI3H| T10z/62/TT DIGNVAVINGS Viva | STSLEE
SGETLE9PO0UXD} GP'SE TOEC-ZEZOG VO ALID YAAIND GATE NOSLY38OU OSE, WOD’SLIGV1 ONT WOO'2Ltav7 STW39H|T102/6/2T DIGNVAVINVG Viva |STSZee
89SEGPOOUXD| 00077 PORE-SPZ06 VI OCNNDAS 13 1S NIVIN TSZ! NOTIG N3XDIHD SSIHINVYS NONG N3XDIHD THWIDH|2102/8/E DIQNVAVINVG Vivdd | 9T8ZEE
B9ZSEGPOOUXD| HZ°ZET 7@ROE-SBSP6 VI NOLNVSV31d YG COOMASOY O2tb OVd SULUELW ITI ‘ii ALITIGOW LL ta] ztoz/s/e SIONVAVWVG Vivaa | 9T8Zee
GETLE9POOUXD| OO'L 8b006 VO STTZONV $01 LIFYLS GUIHL 6868 AvadVa VNONSVIW 11 TV1 VNONSYW SIWDOH| Tt0z/oe/TT SIONVAVINVG ViVa8 | 9TBZEE
89ZSEEPOOUXD| OO'OE $002 AO ATIUASATLUYS Y3133y "S 027 DINOWLOT1 92 NOINN SdiTHd ODONOD AUSSI ZL02/bT/E DIANVAVINVG V1V38| 9T8ZEE
SETLESPOOUXD| 00° 6045-22006 V2 SATAONY SO GATE LASNNS M 60ZS AYaNV@ NOS 3 MSHS NVI LHS. TSAWVS| SIAIDDH | TT0Z/ST/TE DIONVAVINVG Vlv3d|STBZEE
G6TLE9POONXD| 8B'bP2 LOZE-8/006 VO SITJONY SOT GATE NOSLYAGO" S SPT 33AN9 t‘dO0d 8 JNIM 3NI3 33AND Daw | Tt0¢/St/tT DIGNVAVIAVG Vivae | ST8ZEe
89CS6GPOOUXD| EB'ZZ 8Y006 V2 SITFONV SOT GATE WOSDNID V1 N OOT NOILIINNOD ATH3AI9 EZES SITdVLS SITd VIS: A 8OSIN] Z2T0¢/9/E SIGNVAVWG Vlad | 9T8ZEE
66TLESPOONXD| Tz'St LOCE-BHODE V3 SATZONV SOT GAIA NOSLUZEOU S SPT 33AN3 § ‘OOS 8 3NIM ANId 3IAND SIADIH| T102/ST/TT DIONVAVINVG VLV48 | STSZEE
B9ZSE6POOUXD| SZ'bT BLTP-8P006 Vo STIAONV SOT GATS VOINSID V1 S O0E! €bT AVaT VALNVA8 Jadd09 E95 dVaT VALNVAd 334409 STWIIH| 2102 /0E/E SIGNVAVINVG Vivaa jST8ZEe
B9ZS6EPOOUXS| OTST EORT-8h006 VI GOOMATION LSaM GATS ATUSARE EGL8: Sb 3V31 Vas 8 NV38 334409 8b dV3T VL 8 NV38 233409 SINDIH|ZT02/97/E DIGNVAVIVG ViV38 | 9TSZEE
GETLE9LOOUXD| OO'PT 8b006 VO SATSDNV SOT OOTH GATE SUIHSTIM Te29 “ONT ‘ADWWYVHd IAN ‘ONT SADVINUVHd NG aw Tt02/s/2t D|GNVAVINVG Vlv3a8|9T8Zec
897SE6HCONXS| CO’OST 9E00G V2 SJTADNV SO1°HC JAOUD HLNOS TTT HOLS J13S LANUVIN SHAW O11 SUIS THY SHOWS dHOSIAN|/Zt07/S/E DIGNVAVWIVG Vlv3d|9TBZEE
B9ZSEGPOONXD| OS°6E 6052-82006 V2 SA1SONV SO1 GATS LaSNNS M ZSOL LISNNS ZObS SHINBUVIS JASNNS ZOPS SHDNAYVIS SIWIDH | 2102/8/€ DIGNVAVINVG VLV38/9T8ZEE
B9@S66P00UXD| LOT 6TGEZ-TLZ06 VO STIIH ATHBASd OCT # GATS SUIHSTIM THO G3LNATINA XY TI ‘G3.LWATINGA XY SIWIDH{2T02/S/E DIGNVAVINVG VLW3d | STBZEE
SETLE9POOUXD| 80°ET €8S¢6 VD NOWVY NYS £9271 GY NOANYD H3ONITION TO09 S3D1AH3S-4 VID NLL WIENS SINOYU1I313 NOYARHD. HLOWOD|T10¢/2/2E DIGNVAVINGG Vivaa | STBZEE
B9ZSEEPOOUXD| LTS 00rL NO ATIASATLUVE H3123y *S O27 DINOYLI313 94 NOINA SdITIHd ODONOD GUOSIIN| ZL0Z/PT/E DIGNVAVWIVG V1V38]9T8ZEE
GETLE9VOOUXS| ¥2'66T <T6i-9b006 V2 COOMATIOH 1SaM GAId VOINOW VINVS TST LaWYNOD TVAOY LAWNS IWAOH TIWIIH| T0e/Ee/TT DIONVAVINVG Viva |STBZEE
897SE6P00UXD| O8°ZT E08T-8h006 V2 COOMATION 453M GAIG ATYAAI EGL8 8p dVa1 VALS NV38 334405 8b dV¥a1 V3L 8 NV3G 33340D SIWIDH|2t0z/S/r D|GNVAVIAVG Vlvaa| STBZEE
GETLESPO0UXD| SS*ZT OTZO6 VO STTIH ATY3A38 YG GYOSGI N CEP had sians 3c sianr aN | Tt0¢/S/2T SIGNVAVIIVG VLva8|9T8Zee
6ETLESHOOUXD| Bb’ 2ST OEGZ-TEZ06 VI STIIH ATUSARE COT # GATE SUIHSTIM 0298 34V2 S NAGNVXITW INI HDSLHOY TIW99H | TL02/82/TE DIGNVAVINVG VLvag|ST8ZEE
S6TL69¢00UXD| TS'TET CBOE-8BSb6 VI NOLNYSWaId YG COOMASOY O2bF: DV O1LPSLY 977 ‘NALITIGOW L8tvy| 139| Ttee/s/2T DIANVAVINVG Vivaa | 9T8ZEE
GETLE9FOONXD| BEEZ 6025-42006 V3 SATADNV SOT GATS LASNNS M 60ZS AYAIVE NOS 8 HAHLVI NVIN3LUSL AWS SUND9H{TtOZ/ST/TT DIGNVAVINVG Vivae | 9T8Zee
G6TL69H00UXD| 05°0 B8P006 VI SISONYV SOT Yu SNUNG JDYOIO S GET 9SZ LO1 Aud V14O ALID SATAONY SO7140 ALD Y¥d | TLOZ/T/2t DIONVAVINVG V1vaa | ST8Zee
SETLE9FOOUXD| 00°66 S89EE Td VdINVL SELZT9¢ XO Od 11.3 ANI SNIZVOVW HLIV3M TI G3 ANI SNIZVOVIW HLIV3M) Noa] Tt0z/Ez/Tt DJONVAVWVG Vivie|STBZEe
66TLE9F00UXD| T2'S 8b006 Vo SATZONY SOT AOTE LINM LAauLS GUE 1S3M TE98: YV@ HOIMONYS 3HL TI NVO 12 ANS] TT0Z/6z/TT SIGNVAVIVG W1Va8 | 9TBZLE€
GETLEIVOOUXD| 06°S7 POEC-TTZ0G VO STIIK ATHSARS GATE BUIHSTIM 82E8 $8 JV31 V31/NV3 333509 be Ava VaL/NV3d 33440) SIWDIH|TtOz/2/zT SIONVAVINVG V1lvad | 9TaZee
BOZSEEPOOUXD| OS'ST O9SE-PS206 V3 HOV3d VSOWYSH SAV VSOWYSH EET TZ8S SAINGYVIS TZ8S SAINaUVLS AWS|2102/87/E OLGNVAVINVG V1V38 | 9TSZEE
GSTLE9POOUXD| £0'2S 9685-97006 YI COOMATIOH M GATE YOINOW VINVS OTL P8BE LIU) PBBT LIOUVL| dO3|TT02/Z/2T DIGNVAVVG V1Wad | 9TaZee
6ETLE9HO0UXD| SZ°ZT 7OEC-SEQNG VD STISONV SOT GATE Old M 2298 Odld AUINVE ZEYVMHOS ‘ON VINE GIWIIH| T102/2/2r DIGNVAVIVG VLV38 | STBZEE
B9ZSE6POONXD| 089d 8PSE-bS206 VD HoV3a VSOINNSH ONVULS JHL OOET ASNOH HOV3E VSOWYSH 373 ASNOH HOVa8 Dldidvd LH] T02/06/E DJGNVAVINWG Viv38 | ST8ZEE
CLT VRBPOOUXD)| 00ST 8b006 V2 GOOMATION 153M 8 1d¥ Ud TIVMS N TPT: Gaxve AWIWNA YaTIIW LaeVOUVN STWO9H | 2T0z/st/2 DIONVAVINVG V1v38 | STBZEE
GETLESPOOUXD| O42? 9£006 VD S2TJONV SO7 GANS SUIHSTIM ESES LIOULA 8 AUIHSTIM 8666 duOd SHINGUVIS SUNI9H| TTOz/T/2T DIONVAVWYd Vivad |STBZEe
990P9ZSOOUXD| 00°L £9006 VO SITFONV SO1 GA1S VOINOW VINVS OSZOT 4D AYLND'CISISM NMLONddHS ONDIBVd GUVONVLS avd] 2t0z/pt/9 SIONVAVWNVO Vlvi8|9T8Zee
CLTEPB8HOONXD| OO'GET 8CTP-8P006 YD SITADNV SO GATE SLNADIA NVS S OOP svsav HVHS S¥da¥ HVHS TIWD9H|2t02/t/e SIONVAVINVG W138 | 9T8ZEE
LTBETESOOUXD| 00'ST 22088 ZV XINSOHd £0-T0-b2 JIN SS 21s UG GNAYHIS M Tove Bad DL SSaudXd NVOIMAWY 34d DIL Ssaudxd NVOISAIV 0434|2T0¢/p2/2 DIGNVAVINVG Vivid | 9T8ZEE
SEZIEPSOOUXD| OE'6 92880 IN ATIAYSWOS 823 314 SUNSHINVUA © SIddOHS O8Y6 SHINGUVLS NOILVYOdHO3 SHONGUVLS YNS|Zt0z/2ZT/8 DJONVAVINVG V.Lvad | STSZEE
SPETBPSOCOUXD] ST'EZ LOVE-9Y006 VI SITADNV SOT GATE LASNNS M 2752 OOT SHd1Ve ANVAINOD AUZD0UD SHdIVE STNIIH| 2102/22/83 DIONVAVIIVG Vivd8 |ST8Zec
ZLTPBBPOOUXD} Ob'2% LTP¢-8b006 VI GOOMATION 1S3M GATS ATHAARE GEOG) OT# SWUV4 TOLSING ONI SWuVs TOLSIH SWIIH|ZT07/9/2 DJGNVAVIANVG Vivas |ST8Zee
SPETSPSOOUXD] OST LT8t-OTZO6 VO STUH ATUSAI OT WY UC CYO4XaY’ N SSP SYSLIW ONWUVd He STH ATHAA38 tO ALID uvd|et0z/6z/8 O/GNVAVAIVG Vlvaa|9TaZee
pOGPLEPOONXD] vE'bT £T006 VO STIJONV SO1T GND GATE SUIHSTIM SSOT 3d¥2 NIG IHOVA YagUVd ONVINVIN, SUNDIH|2T0Z/pz/T DIGNVAVINVG Wlvad|9T8ceE
SEBTSOSCOUXD| HT'T9T'T 8P006 VO SJTAONV SO115 CHE M0028, OAO3 Ti INI OIZNNNNY,G QINDIH|2102/8T/y SIANVAVINVG Vlvid|9TBZEE
6ETLENPOOUXD| OO'OTZ bvOEZ-£5006 VD SATSONY SO1 1S GUE M S06T DL MIN ON! 97 SM1d IWS, TIWDDH| 1t0z/9/2T OLGNVAVWVG VLV3d/9T8ZEE
CLT PBBPO0NXS| OO'T B8EG6T-87006 VO SITJDNV SOT CATES VOAN3ID V1 N OOT SDIABAS ONIAUVd LAIVA JT SHOLSSANI 89T-TEVT uvd|2toz/pe/z DIGNVAVINVG ViLVad |ST8ZEE
E9GELPSOCOUXD} O9'TET 780E-885b6 VD NOLNVSV3Id Hd GOOMASOY O7bY. OVd SILLBLV OT ‘I ALTIGOW Laly 199 |@10z/5/6 DIGNVAVINVG VLVIG/STSZEE
SSGE8ZSOOUXD| ST’ST 9685-97006 VI COOMATIOH LSIM GAT8 VIINOW VINVS OOTL P88T LIOUVE PBst LEDuvL d03|2t0z/2z/9 DIQNVAVWIVG VLVd8 | ST8ZEE
SOGE8ZSOOYXD} OO'Pe 60LS-Z.2006 VD SATZDNY SOT GATE LASNNS M 60¢S) AUZAVE NOS 8 YSHLVA NVIMSLYSL TAWVS SIWIDH{2T02/97/9 DIGNVAVINVG Viva |STBZEE
E9GEZPSOOUXD] 62'6 PO8E-BL006 VD COOMATION ISAM GATS ATH3AaS 0048 UVLS ULD GIW IYNIS SHYVGA9D DTI SNOLLVYadO OXACOS| STWO3H| 2T02/€T/6 DIGNVAVIANG Vivad|ST8ZEE
6YOSLESOOUXD| SE’6T 82TS-9b006 VD GOOMATIOH 1SaM LOT 31S GATE VOINOW VINVS TOSZ ZLS9 SHONGUVLS ZTS9 SHON VL SUADDH | 2T02/t/8 DGNVAVWYG VV38/9TSZEe
#WaL- wey) (n> payig) sSadppy JUetDaIA - Byeq ple> Swen Weyra - ejeq psep apop ayeg] apop smeys pie.) uo} AaqUINN
qunowy gsuadx uopoesuedt| uopzesuer,| awen-eleg plea] -aeAojduig
asuadxg ~asuadxy pue> - 232g

 

 

 

 

 

 

 

 

 

 

 
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(29°2T 2) DYXS # LYOdaY ASNAdxXd SZ/Z0 == USHIMOA SSN3dXa SO SQI3I0Ud ctoe/se/e HONVAVINVG Viva [STRZE€
{so'6es) DUXS # 1HOdgaH ISNAdX3 ST/B0 = HIHINOA ASN3dX4 JO SGZIIOUd ctoe/st/8 TJONVAVIAVG VLW38 /9T8LEE
{oo'as6} DYUXO #.LYOdaY SSNAdXa GO/OT — YSHOINOA JSN3dXJ JO SAS390"d ztoz/6/ot HONVAVINVG VVva8 | 9TBZLEE
(te'TT 2) DUXS # LHOdaY SSN3dXa 9T/S0 — HAHDNOA ASN3dX3 4O SQ3390Nd et0z/9t/s NONVAVIAVG VLv38 | 9TBZEE
(oo°v6t) BOTP-87006 VO SIIJONV SO7 GATE SLNIDIA NWS $ 007 Svaav HVHS SVE8V HVHS etoz/ct/e IJGNVAVINVG VLvaa 19TBZEe
(99°bt't) DUXD # LuOdaY ISN3dX3 97/60 YAHIMOA SSN3dx39 JO SAIaIOUd zt0z/92/6 IJGNVAVMIVa Vivad [9T8Zee
(66'e6p} PuxS # 1WOday SSN3dxX3aST/80  YAHINOA ASNAdX3 JO SG3330ud etoe/st/8 IJGNVAVIVG VLV36/9T82EE
(b6"Zp2) DUXD # LYOdaY SSNAdXd SO/Z0 — YAHINOA ASN3dXF AO SAZ3IOUd e107/s/z IJGNVAVAVG Vivid |ST8Zee
O0°6ET 80Tt-87006 VO SATADNV SOT CATE SLNADIA NVS S 00P| SVaaV HVHS SYaa¥ HVHS etoz/et/e IJGNVAVINVG V.ivae |STBLEE
(so'g69} DYXO # LHOd3H SSN3dX3 ST/80 = YSHIMOA ASN3dX3 AO SGIaIOUd ztoz/st/8 IIGNVAVIAWG Viv38|9T8Zee
(oo'set) 80TY-87006 VD SJTADNV SOT GATE ALNZDIA NVS S OOF Svaay HVHS SVae¥ HVHS Zroe/Zt/e IJONVAVINVG Viva | ST8ZEe
(vo"228'T) DUXS # LYOdaY ASN3dX9 8O/SO — HSHINOA ASN3dXH AO SGAIIONd 2t02/8/S HGNVAVAVG ViVa8 |ST8ZEE
(4e"E9T'2) DUXO # LYOd3Y SSNAdX3 PT/EO — YZHONOA ASNAdXA JO SQSAIOUd ct0¢/vT/e UGONVAVIAVG ViLVa8 | ST8ZEe
(oe) STIZ-Tp826 VO SAQHUD NAGUVD FAV NYVWdVHO tebe WIWO3 HANYYM SAIL ONL 318V9 YANYYM SIL ctoz/et/8 HONVAVWIVG ViV38|9T8ZEE
O0'vET BOTH8t006 VD STTSDNV SOT GAId SLNIDIA NVS S OOP SVdav HVHS SVaaV HVHS etorset/y TONVAVWVG Vivas|9T8ZEe
(z9"€62'T) PYXD # LYOdIY ASNAdXS 22/20 — BAHOMOA ASNAdXA JO SGAIIOUd cto7¢/zz/t UONVAVINVG Vivdg |ST8Zee
(se'ete't) Dux # LYOdau ASN3dX3 ST/90 ~— YIHINOA 3SN3dXA JO SQ3IIOUd 2T0z/St/9 HONVAVWIVO Vivad | ST8ZE€
(oo°rre) PUXD # LHOdIY ISNAdX3 St/ZO — YIHIMOA ASNAdXA AO SGIIIO’d 210z/st/z UGNVAVWIVG Viv3a|ST8ZE€
(92'689) DUXD # LHOd3¥ SSN3dX3 EZ/TT — HIHINOA ASN3dX3 JO SA3IIONd ThOz/ez/T HONVAVWVG V1LV30 | 9TSZEE
(pb'pa)} OEGZ-TTZ06 VD STH ATUSAId COT # GAT SHIHSTIM 0298 B3dV2 S HAGNYXATV ON} 4D3LHOU eto7/2t/e HGNVAVIAVG Viv3d |ST8ZEE
(ov’998't) DUXD # LNOday ISNAdX3 OE/SO — YSHINOA 3SN3dx3 JO SAaIIOUd 2t07/08/S SJONVAVINVO VLV3d | 9E8ZEe
(2p'est) STT2-T¥8Z6 VI JAOUD NIGUYD 3AV NVINdVHD Thebe WIWO2 YANUVM SIAL ONT aTaVO YANEYM IAI 2t0z/et/8 [ONVAVAVG Vlvsd|9T8ZeE
{tO'vry't) DYXD # LYOd3Y ISNAdXa TT/TO — YAHINOA 3SN3dXa AO SGIIIONd zroe/tt/t (GNVAVINVG V1LV28|ST8ZEE
(€2’stoT) DUXS # LUOdaY ASNSdX3 BT /PO ~— HSHIMOA SSN3dxXa 4O SAI3IOUd 2t0e/8t/e TlONVAVINVG Vivae |9t8Zee
(sz'ozt't) DUXD # LHOd3Y ISN3dX3 GO/TT — HJHINOA ASNAdXa JO SAIZIOUd Tt0z/6/TT JJONVAVINVG VlV3d | STSZee
{98°229'T) PYXO # LUOday SSN3dX3 27/2T —_ YAHINOA SSN3dX3 JO $A33I0Ud Troz/2z/2t SGNVAVWd VLvae|9T8Zee
{at'pze) DUX # LUOd]y ASN3dX3 SO/Z0 = Y3HINOA SSN3dX3 4O SATION etoz/s/L tJONVAVINVO Vivad |ST8Zee
{o0"6b) SEEO-PESEE TJ WdINL 31S GATE YIMOHNSSH OTZF| SUVNIWAS Q3LVAILOW 139 | ‘SHVNIW3S GALVAILOW 139 etoe/Te/t HONVAVINVG VLv38 | 9TBZEE
(S3"eaT) STTZ-TH826 VO AOU NAGUYD FAV NVINdWH) Tebe WINOS HANHYM SWELL ONI S198V3 USNHVAA SIAL eroz/er/s SJGNVAVIVG VLv3a/9T8Zec
(tp'seo't) DUXD # LHOddu SSN3dX3 97/60 YZHINOA SSNAdXa IO SGaIIOUd 2102/92/6 HONVAVWVG V.Lvad | STBZEE
(e6'06z) PYXxO # LHOdaY SSN3dxa BT/PO —_ UBHIMOA BSN3dX3 40 SATIIOUd etoz/et/y TGNVAVWVG VLv38 |STBZEE
(46'299) DUXS # LHOdTY ASN3AdXA OE/SO — YSHINOA ASNIdXA dO SGI3IOUd ctoz/oe/s HONVAVWIVG Vivaa |9TSZEe
(4e'Tty't) DUXD # LHOdau ASNAdX3 @2/2T = YHIMOA SSN3dX3 JO SGI3IOUd Troe/z7/et I/GNVAVINVG Vivad |9TaZec
{00'6z) PESEE Td Vd. SE SLINS GATE YIMOHNASIS OTL; SUVNINAS CALVALLOW 135 NI NIMASI1 Troe/s/zt IJGNVAVIVG Vivag/9T8ZeE
GETLESPOOYXD| BZ'OTT TOEC-Z2E206 VI ALID HAAIND GATE NOSLYIBOY OSLE Woo’3.idv1 SN} WO'sLldv1 TIW29H|T102/6/2T SIGONVAVIAVG Viva |ST8Zee
GETLESHOOUXD| OS‘OT 6045-22006 V2 ST1AONV SO7 OAT LASNNS M 6025: AUSNVE NOS 8 YSHLVS NVIUSLYSL TIAWYS SIWIIH| Tr0e/9T/TE S|GNVAVIVG Vivad |ST8ZEE
GETLE9VOONXD| TETST STTZ-T 7826 VD SAQUD NICHD JAY NVINIVHD TebZ, WIWOD Y3NUVM 3WILONT S1dV3 Y3NSVM SIAL {Hd | tTO¢/2e/Tt SIONVAVWIVG ViVaa|ST8Zee
89CSEGPOONXD| OO'T BEGI-8P006 V2 SAISDNV SOT GATE VDINIID VT N OOT ADIANSS ONINY Vd LAIVA DTT SHOLSSANI S9T-TEbT dvd] Z10c/9/E DIONVAVINVG VLVa8 /STSZee
G6ETLE9b00NXD| SZ‘°ST COEZ-SEOUG V2 SATADNY SOT OATS ODid M 7298: Odid AUJAVE ZLUYMHIS “INI VAD IWD9H} Et0z/2/2T DIONVAVINVG V.ivaa |9TSZee
6ETLESPOOUXO| SS‘OT 8Y006 V2 SXTJDNV SOT GUVATINOG ATHAATE 0028 BVLS HL GRIN IWNIS SHVO39 DT] SNOLLVH3d0 OX3d0S Saw|tr02/6/2t OIGNVAVIAVG Vivid |9TBZEE
B89ZSE6P00NXO| €8°ST TO9T-SECO6 VO STISDNV SOT GATS NOSLU38ON S 908 OLV135 TV IT OLV139 TV! STADSH]et02/9/E SIONVAVIIVG VLVd8 |ST8ZEE
GETLESPOOUXD| OO'OLT SE00G VO SFIZDNV SOT “HG SAOHD HLNOS TIT YOLS 3143S LSHEV SHZWEYd OTT SUS THY SHOWS SiS] Tt0¢/Bt/Tr DIGNVAVINYG Vivas |STBLEE
89ZS66P00UXD Z6T2-SE006 V3 STTADNV SOT GATS ATHSIAIS SZ8L. YaNOUE 139V8 SHL ITI STAOVE SATE SIWI9H|2102/S/e SIGNVAVINVG VLV48 |ST8ZEe
#VaL~ Wwile|D SSaJppy JUBYUAW - eyeq pied WEN Weydaly - veg pied apeop 33eqQ| Spoj snyeqs Pie> uo J3aquinn
asuadxg Uoppesuel| UoNoesuel,| aweN-eyeq plea] ~ saAojdury
~asuadxy pies - jeg

 

 

 

 

 
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Exhibit 31

 
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From: Damavandi, Bita [TTTUS]

Sent: Thursday, January 22, 2015 3:04 PM

To: usa5919@fedex.com

Ce: Damavandi, Bita [TTTUS]; teavandi@yahoo.com
Subject: feb 12 dinner

Attachments: Invitation, pdf

Please print 10 invites on cardstock, in color.

Will be by in case any questions in 30 min.
Tea
310-210-2482

From: Sumner, Blaire [mailto:bsumner@medforce.net]

Sent: Thursday, January 22, 2015 7:07 AM

To: Damavandi, Bita [TT TUS]

Subject: PROGRAM CONFIRMATION: 2015 OLYSIOR Speakers Bureau: Meeting ID #68197: Thursday, February 12,
2015

Hi Tea-
You are all set at Cecconi’s. Attached is all the paperwork as well as the contract worked out with the venue. |
have ordered the screen from them, but will have the Laser and Advancer ordered and delivered from Talien.

Thanks!
Blaire

 

Attached are the necessary documents for your upcoming Speaker’s Bureau program listed below:
Meeting ID: 68197

Topic: A Clinical Overview of OLYSIO™ (simeprevir)
Date: Thursday, February 12, 2015

Time: 7:00 PM

Location: Cecconi's

8764 Melrose Ave

West Hollywood, CA 80069 (310) 432-2000
Speaker: Edward Mena, MD
Speaker Cell: (323) 365-8968

Please take a moment to review the attached documents, as they reflect the confirmed details for your program.

e Invitation
e HCC Sign in Sheet (to be faxed back to MedForce using the information at the bottom of the Sign in sheet)
° Copy of Speaker Confirmation Letter

If any information has changed, please contact MedForce as soon as possible.

As a reminder, per compliance guidelines, honoraria payment may not be released to the speaker until you have logged
onto www.janssenspeakerprograms.com to accurately record participating attendeesand fill out your online speaker
evaluation. Refer to Meeting ID# 68197.

 
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OLYSIK

SIMEPREVIR

150 mg capsule

 
  

 

OUR GUEST SPEAKER WILL BE
Edward Mena, MD

HMRI Liver Center Associate, HMRI Liver Institute
Pasadena, CA

Dr. Mena is a paid speaker for Janssen Therapeutics, Division of Janssen Products, LP

Thursday, February 12, 2015 at 7:00 PM

Cecconi's
8764 Melrose Ave, West Hollywood, CA Phone: (310) 432-2000

Register online at hitp://www.medforcereg.net/SOMP68197

or with your Janssen Therapeutics Sales Specialist by Thursday, February 05, 2015
BITA DAMAVANDI
Phone: (310)210-2482

In adherence with PARMA guidelines, spouses or other guests are not permitted to attend company-sponsored programs. For all attendees, please be advised that information such
as your name and the value and purpose of any educational item, meal or other items of value you receive may be publicly disclosed. If you are licensed in any state or other
jurisdiction, or are an employee or contractor of any organization or governmental entity, that limits or prohibits meals from pharmaceutical companies, please identify yourself so that
you (and we} are able to comply with such requirements, Please note that the company prohibits the offering of gifts, gratuities, or meals to federal government employees/officials.
Thank you for your cooperation. Per OPEN PAYMENTS regulations, we are required to report and publicly disclose the name and the value and purpose of any educational item, meal
or other item of value given to a physician (MD, DO, OD, DDS, OPM, DC) or teaching hospital effective August 1, 2013. This promotional educational activity is not accredited. The
program content is developed by Janssen Therapeutics, Division of Janssen Products, LP. Speakers present on behalf of the company and are required to present information in
compliance with FDA requirements for communications about its medicines. The personal information you provide may be used to contact you about your request to attend the
Janssen Therapeutics, Division of Janssen Products, LP program. Information may be shared with Janssen Therapeutics, Division of Janssen Products, LP, its affiliates, and a third
party for the sole purpose of completing your registration for this program and as required by law.

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Janssen Therapeutics. Division of Janssen Products. LP 2013 11/13 002228-130905

 
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**IMPORTANT™ You will be responsible for adding your attendees directly into this meeting.

Please be sure to capture attendee names, addresses, specialties and degree so you can enter this
information online post program.

Please refer to the Resources tab on www.janssenspeakerprograms.com for tips on how to register and
record your attendees.

We anticipate your meeting will be a success and we thank you for your support. As always, if you have any questions,
please do not hesitate to contact me.

Blaire Sumner

Project Coordinator

MedForce

119 Avenue at the Common, Suite 7
Shrewsbury, NJ 07702

Phone: 888-735-7418

Direct Line: (732) 380-8721

Fax: (732) 389-9506

Email: bsumner@medforce.net

 
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Exhibit 32

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 24 of 85 Page ID #:403

Ron Lloyd Orange County Territory 5521415 8/3/14

90-Day HCV Launch Action Plan & Portfolio Selling: Advancing Healthcare with Simeprevir & Simponi

Territory SWOT (use insights from HCV Profiling, Field Intelligence, etc...)

 

Strength (internal to J&J)

1. Marketing budget allows for me to
strategically target multiple targets with a
number of “Live Speaker Dinner Programs”

2. Strong Selling Skills

3. Simeprevir has great Efficacy (High SVR),
Safety, and shortened Dosing regimen

4. Access Resources: Simeprevir Support, Co-
pay Assistance, JJPAF,SMD Group, Open
Network, Access Marketing Materials

Weakness (internal to J&J)

1. Unique labeling for Simeprevir “East Asian
Ancestry” & “Q80K” testing

2. Lack of KOL focus from marketing with KOLs
within my local market area in comparison to
Gilead who is doing local Advisory
Boards/Consultant Meetings & Developing
multiple local speakers (i.e. Dr.Kayali &Hu).

3. JSHI not offering patient support with nurse
who do training weekly/monthly training classes
for newly prescribed patients

 

Opportunity (external to competition, market)

1. High HCV potential territory where
community physicians make up large % of
business (i.e. Asian Targets) with good access

2. Leverage current KOL Tarek Hassanein &
develop local speakers/KOLs in Dr. Hu, Kayali,
Hoefs, etc.

3. Loma Linda University (Liver Transplantation)
offers opportunity to have Simeprevir
prescribed to large population of HVC patients.
This could be leveraged to influence community
physician and Loma Linda VA (long-term
strategy)

4. To develop “PA Champions” to develop a
“seamless” pull-through strategy w/top targets

5. Develop relationship w/Ke-Qin Hu (Dir. of
Hepatology) at UCI. Get
Marketing/Management/Clinical support of this
KOL

 

 

Threats (external to competition, market)

1. Gilead’s Sofosbuvir 12 week treatment verse
Simeprevir 24 week treatment

2. Short “window” of opportunity (warehousing
for interferon free therapies)

3. Gilead highlighting the Simeprevir PI section
about “East Asian Ancestry” which Sofosbuvir
doesn’t have in their label (9 out of my 10 top
targets service the Asian community)

4. IEHP (Inland Empire Health Plan) doesn’t
approve any Triple Therapy. Is the largest health
plan that covers my entire Inland Empire
geography. HPAD to get access to Hep C care.

5. Hassle Factor with the Prior Authorization
process

6. Identifying & Access to “Key” Hep C targets at
VA & Loma Linda Transplant Center & set up
Speaker Program

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14
Top 10 Target HCPs to Adopt Simeprevir
Prescriber HCV Profile Selling Needs Top Payers
Decile (Strategy, Tactics, Messaging)
John Hoefs 40/20 e Consider to add as Speaker WellPoint (C) 16%
e Management “High Contact” Barca (els grouptMedicare) 10%
Pe TET ” BS of CA %
e Marketing “High Contact” Express Scripts (PBI) 6%
Tarek N/A e Use & Develop as Speaker Community Health Group
Hassanein/Catheri e¢ Management “High Contact” (Medicaid) 27%
ne Hill NP (San ¢ Marketing/Home Office “High CvS/Caremark (Medicare) PBM 5%
Clemente) & Renee Contact” Humana (Medicare) 5%
Pozza (Riverside) Molina (Medicaid) 5%
Richard Quist 00/30 e Lunches for Access w/Dr Wellpoint (C) 16%
e Target staff & dr. for “live BS of Ca (C) 11%
Speaker Programs” Aetna (C) 9% ;
© Call Frequency UnitedHeaith (Medicare) 9%
UnitedHealth (C} 9%
Asghar Oliai e Efficacy w/Convenience & Aetna (C) 14%
tolerability Drives usage WellPoint (C) 14%
e Leverage rapport w/Maria & UnitedHealth (C) 7%
Doctor Cigna (C) 4%
Michael Demicco 40/70 e Efficacy w/Convenience & Scan (Medicare) 10%
tolerability drives usage Aetna (C) 9%
e Health Net (C) 6%
United Health Group(Medicare) 6%
WellPoint (C) 6%
Hyder Jamal 30/10 e Wants to treat with best WellPoint (C) 21%
Efficacy/Duration/Tolerability | Express Scripts (C) PBM 7%
BS of CA (C) 6%
Aetna (C) 5%
Ke-Qin Hu 70/30 e Use & Develop as speaker CVS/Caremark (Medicare) PBM 67%
Support UCI Gi/Hep Depart.
Speaker Program in Victorville
Alaa Abousaif A e Efficacy w/Convenience & Abousaif: WellPoint (C) 23%, Aetna
(Dixie NP), (30/10) tolerability drives usage (C) 12%, Health Net (C) 8%, Express
Hardeep Singh s e Pull thru Strategy for Office Scripts (C) PBM 7% 3
(Ann Lee NP) (10/00) e Invite to Live Speaker Programs (12% Uniwedttes HG me cA
UnitedHealth (Medicare) 6%
Syam Gaddam 50/70 e Product info on tolerability, UnitedHealth (Medicare) 13%
efficacy & duration Aetna (C) 6%
e Address limit “access” to dr. WellPoint (C) 6%
(4:30 Best) BS of CA (C) 5%
® Schedule Lunch when available
Lawrence Hurwitz | 20/00 Monthly lunches UnitedHealth (Medicare) 10%

 

 

Efficacy w/Convenience &
tolerability drives usage
e “Peer to Peer” influence

 

Aetna (C) 8%
WellPoint (C) 8%

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

Territory KOL Presence — (Yes

 

If yes, what is your launch strategy to maximize territory and local community influence of this KOL?

1) Speaker/KOL — Tarek Hassanein MD (w/SD Rep)
e Use & Develop at Speaker for 2°? Half 2014 (2 OC Programs & SD Programs)

*® Coordinate high frequency “touch points” new SD rep and make sure all locations are service in
OC territory & SD territory
e “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
© Build rapport with staff, NPs, etc. at all locations w/breakfast/lunches/call frequency
2) Speaker/KOL — Ke-Qin Hu MD
e Use & Develop as Speaker for 2"? Half 2014 (Victorville, OC, UCI Specific Program, etc.)
e Promote Dr. Hu to other reps on West Coast
e Leverage his UCI connections (i.e. past Fellows, Residents of UCI, Asian Community Physicians)
e “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
« Educate Pharmacy Department at UCI & help w/Pull Thru
3) KOL— John Hoefs MD
e Inquire about making him a Speaker for OLYSIO
« “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
e Leverage rapport w/Lein (MA/PA person,etc.) & Gail (office mgr) to get better access to Dr. H
e Invite Hoefs & staff to Live Speaker programs
e Offer Library Program
4) KOL— Zeid Kayali MD
e Develop & leverage relationship w/Dr. K’s PA-C (Cory Amador) at Arrowhead to get “access” to
Dr. Kayali. Visit Dr. Kayali at Arrowhead in PM on Monday. Try for access at San Bernardino
location.
® Collaborate w/new SD rep to make sure they leverage access w/Dr. K’s NP in Vegas
e “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
e Leverage IEHP Guidelines for HCV
5) Target KOL/High OLYSIO Users Staff (Dr. Quist, Hassanein, Hu)
e Invite all staff to Live Speaker Program even if physician will not attend
e High frequency calls, lunches, breakfasts
e Pull thru “strategy” & Develop Prior Authorization “Champion” for all targets
e Library Textbook Program for associated NPs, Pas, etc.

 

 

1. November 20th i in nO = (Speaker Saab) Booked

2. December 4th in OC (Dr. Hu) Booked

3. Victorville or UCI Specific Program (Dr. Hu), Confirm & then book
4. Jan 2015 (Speaker Hassanein) Set up in Q4

 

 

 

-Loma Linda VA focus: meet w/Pharmacy to get OLYSIO Marketing pieces approved, Identify Hep

 

 

 
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C targets, Set up Speaker Program

2, - For targets that are in the outlining areas(can’t attend Dinner Programs) | will leverage Live
Web resources (i.e Dr. Hurwitz, Victorville Group)

3. --I will challenge Marketing to involve my local KOLs and influencers in Advisory Boards &
Consultant Meetings and develop as Simeprevir Speakers

4. -Longer term focus will be at Loma Linda Liver Transplant Center (Identified HVC users, Wen Long
PA-C & Brijie Elhazin NP) due to the fact that access to them is much more limited

 

 

 

Resource Utilization (Using, Executing, Maximizing); attendees to programs should be tracked for Rxs:

Portfolio Resources 2013 ~2014 Oct-2014 Nov-2014
No. of HCV KOL —_ : 1 1 1 _ 4 ood
Restaurant N NO :
T + :

Actual

No. of Live
Ti t Attendance
Actual Attendance ae ood.

No. of HCV Direct: nr: o 2
Restaurant a ee fp Ne wa N
Target — _ office
Actual ,

No. of HCV Library Program 35 total TBD
by end of -
June

 

Portfolio Selling — Simponi United Healthcare Targets (reference iMap and Humira United Prescribers)

 

Current Simponi Simponi Super Targets | Simponi United Simponi Sampled

Prescribers in VS - Healthcare Targets — Prescribers
Keep ‘Em Writing Move from 0 to 1+ Pull Thru Access
(add to list as needed)

Get ‘Em Writing

 

Sajen Mathews(Simp) Donald Abrahm(Simp) | Lawrence Hurwitz Rakesh Chopra(Simp)

 

 

 

 

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14
(8%)(Simp)
Richard Quist (Cust) Kevin Jenkins(Loy) Jack Dinh (7%)(Cust) Ahmad Shaban(Cust)
Craig Ennis{Cust) Lino Deguzman & Anne | Gregory Ardigo Donald Abrahm(Simp)
Burkel (PA) (Simp) (5%)(Simp)
Benjamin Shih-Ting Tsai (N/A) Lino Deguzman Jason Shin(Cust}
Weinberg(Simp) (7%)(Simp)

 

Carlos Saad(Cust)

Christopher Lee(Simp)

Richard Quist
(6%)(Cust)

 

Nimisha Parekh
(UCI)(N/A)

David Kaufman(Cust)

Benjamin Weinberg
(6%)(Simp)

 

Vinod Mishra(Cust)

Hyder Jamal(Loy)

Donald Abrahm
(5%){Simp)

 

Hardeep Singh(Simp)

Christopher Lee
(4%) (Simp)

 

 

 

 

 

 

My overall winning launch plan to build adoption of Simeprevir & grow Simponi UC penetration is:

 

 

Focus on “top 10” early adopters to Simeprevir with high frequency calls, in-services, and dinner Speaker programs. For
penetration I’m going to leverage JBI partner with multiple lunch in-services & live Dinner Speaker programs to uncover the
reason they haven't tried Simponi. [ will address the need and close for just one patient trial. Develop Dr. Abrahm as
Simponi Speaker. Have him get clinical experience and do OC speaker program in March/April. Met w/Lynn to develop top
target each of us will focus on:

Abrahm, Quist,Ardigo, Weinberg, Mishra, Ennis, Hurwitz,Saad, Dinh, Mathews,Jenkins, Deguzman,Kaufman, Tsai,Kalra,Singh,James
Lee)

 

 

 

Non Retail Account Planning:

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

 

Arrowhead Regional Account Access: must get credentialed through Reptrax to see Dr. Kayali. Park
Medical Center in Vender parking. Use back door the get to Materials Management. Use
(outpatient) Reptrax computer to sign in and print badge. Go to 1* floor Window #3 and ask
to see Dr. Kayali. Go back to room 7, BEST TIME TO SEE DR. KAYALI IS MONDAY
AFTERNOON. Call for appt: (909) 580-1750

 

HCV Key Influencers, Prescribers

Dr. Zeid Kayali
E-mail: Kayali@usc.edu

Tues: at 2006 North Riverside Ave, Rialto CA

Strategy: Gain access to be able to probe Dr. Kayali to gauge his Hep C needs.
Does he want to be a Speaker? How does he treat Hep C.? How does his staff
manage Hep C patients, etc.

 

 

Tactics: Probe to see if he wants to be a Speaker. If yes, submit paperwork (CV)
Coordinate w/Julie Ewer since she will have him as target in Las Vegas. Invite to
Live Speaker Program, KOL Panel, etc. Schedule in-service to go over Simeprevir
to doctor & staff

 

 

VA Loma Linda Account Access: Need ID & License to get through the front door. Go to
Healthcare Systems Pharmacy Service (Felicia Markham- Secretary). Sign in with “sign in sheet”.
11201 Benton St. Need to list the physician you have appointment with. Location: Take North

Loma Linda, CA 92357 | elevator to 2™ Floor, go past “Retail Store” & before “Food Court” turn Rt. at
“Credit Card” sign, Pharmacy Service on Rt Hand Side.

HCV Key Influencers, Prescribers: Hepatologist moved. Need to find out who
will be treating Hep C.

*Kenneth Wong Pharm D (Ambulatory Care Supervisor) Kenneth.Wong@va.gov
(needs to approve all marketing material before use)

*Hester Choi MD (treat IBD & good contact to find out who treats Hep C) Ph;
(909)825-7084 Ext. 6100 Ext. 4138 She is Gastro Attending

Per Aye: Dr. Cindy Cai & Deborah Anghesom treat Hep C at VA. Mentioned that
VA should be filling Hep position soon. Said they usually follow the lead from VA
in LA. Also mentioned that NP’s Bevery & Gail manage Hep C pts

Strategy:

E-mail Dr. Choi to get info on who will be treating Hep C. Find out all key
contacts. Make appointment to probe to find out Hep C needs. Educate key
targets on Simeprevir

 

 

 

Tactics:

E-mail for appointments. Set up in-service to educate on Simeprevir. Web
programs.

*Beverly Landry (NP) (909) 825-7084 Ext. 1404 (contact to see if she or who eise
treats Hep C

*Michael Ing MD (Chief of ID) (909) 825-7084 Ext. 2942 (contact and see if he

 

 

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

 

manages Hep C)

Contact: Phil Pellkoper (IM CV) to see if he has contact w/who treats Hep C?
(Sofia Puerto —Nurse Educator}

*Cold Call Dr. Elgorhari to find out who treats Hep C (Best time 12-1:30 3" FL)
*Joel (Front office at GI Endo Center)

 

 

 

 

Other:

Academic Institution Planning:

 

Loma Linda University | Account Access: Can e-mail Wen Long (PA) & Brijie Elhazin (NP) to schedule
appt. wlong@Illu.edu & Belhazin@llu.edu . Located at Liver Transplantation
Center: 25865 Barton Rd Suite 101 Loma Linda, CA 92354

 

HCV Key Influencers, Prescribers

Wen Long (PA)

Brijie Elhazin (NP)

Lydia Aye (Hepatologist) at 11370 Anderson St. Suite 3625, Loma Linda, CA
92354 llaye@llu.edu Will e-mail fellows for any programs. Dr. Aye’s Secretary
is: Lorreta & Prior Auth is (Quinn PhanO at Liver Transplant center. Contact
Lorreta to drop off Library program.

Strategy:

 

Gain access to uncover Hep c needs. Educate staff on Simeprevir ,.
Dr. Aye said they should get [EHP contract in May for Riverside Medical Clinic.

 

Tactics:
E-mail for appointments. Set up in-service to educate on Simeprevir. Invite to
speaker programs or Web programs.

 

 

UCI Account Access: Credentialing through Reptrax. Almost completed. Must make
appointment with physician. Go to Reptrax location at: 101 The City Drive
South, route 99 Orange CA, 92868. Phone: 888-7174463 (H.H. Chao Digestive
Disease Center Bidg. 22C. 3 different locations w/Reptrax check in. Also, sign in
at Building 53 (room 211). Need to list who you have appt with. They will call
physician you have appt with before you go meet him/her. Need to sign out at
room 211 & at Reptrax location via computer

 

 

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

 

HCV Key Influencers, Prescribers

Ke-Qin Hu M.D. (Director Hepatology Services)

 

Strategy:

Gain access to uncover Hep c needs. Educate staff on Simeprevir

 

Tactics:

E-mail for appointments. Set up in-service to educate on Simeprevir. Invite to
speaker programs or Web programs.

 

 

 

 

Other:

Safe Fleet Commitments:

Put picture of my family in my car to remind me why | need to follow all safe fleet rules
| will not eat or drink while driving

i will not drive when I’m tired or sleepy

 
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Exhibit 33

 
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Home Office Field Ride Agenda
Orange County Territory, Ron Lloyd
Friday Sept 5, 2014

Performance in VS+ Barometer Report, 8/01:

 

 

 

 

 

 

 

 

 

Current 13 week Simponi Olysio
Unit Volume 88.53 681.54
Nat’l Volume Rank 21/90 12/90
Volume Growth % 10.54% 127.37%
Nat'l Growth Rank 65/90 27/90

 

Performance in National Sales Rank
YTD P-Circle Qi 2014 Q2.2014 Q3 2014 Q4 2014
National Rank 17 12 37

Overall PQ% 142.5% 146.0% 139.0%
Top 25% in Nation Yes Yes Yes
Territory CPA% Exceeds 90.68% 93.13%

 

Today’s Planned Call Activity:

 

 

 

 

 

 

Prescriber Name | Sales Direction | Segmentation | Simponi Potential | Olysio Potential
Call #1 | Michael DeMicco | Olysio Not a Target N/A High/70 decile
Call #2 | Benjamin Simponi Simplifier High Not a Target
Weinberg
Call #3 | Catherine (Katie) | Olysio Not a Target N/A High/80 decile
Hill (Hassanein)
Cail #4 | Donald Abrahm Simponi/Olysio | Simplifier High Low/10 decile
Call #5 | John Hoefs Olysio Not a Target N/A High/40 decile

 

 

 

 

 

 

 

 

Call #1 —- Dr. Michael DeMicco (Breakfast starts at 7:45am)
#6 HCV Market Volume Current 52 weeks for my Territory

OLYSIO SOVALDI

 

a +

Demicco, Michael 421.89 30.35 24.90% 30.35 87.36

Call Objective —HCV Profiling. Probe to better understand current patient types, demographics and
general HCV needs. Deliver Hep C Tear Sheets. If time allows go over OLYSIO program resources: Doctor
Discussion Guide, Treatment Calendar, Care4Today App & Support Group Finder.

Previous Call Background/Continuum — Presented “Hep C Resource Tear Sheets” and Dr. DeMicco
selected “What Can Happen to the Liver”. Dr. DeMicco stated he is using spontaneous use of OLYSIO

 
—~

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Call #2 — Dr. Benjamin Weinberg
#5 IBD Biologic Volume Current 52 weeks for my Territory

Sa

Prescriber Name. KS eis
R ces] SIMPONIUC HUMIRA REMICADE cIMzIA

 
 
  

 

Weinberg,Benjamin 302.49 5.00 1.65% 5.00 145.95 138,54 13.00

Call Objective —follow-up on possible new Simponi patient. Probe to find out which therapies he/she
tried & failed? Ask how does he offer the biologic options to patients? What perceived advantages
does Dr. W believe Simponi offers? Close for new Simponi script & communicate 4,5,6 Marketing
Message.

Previous Call Background/Continuum — Dr. Weinberg stated that current patient on Simponi is doing
well, and that he might have another patient for Simponi. Said be gives the patient all biologic options.
Find out what that conversation looks like? What advantages does Dr. W perceive Simponi to have?

Call #3 — Catherine (Katie) McCoy-Hill NP (Hassanein’s NP)
#2 HCV Market Volume Current 52 weeks for my Territory (Hassanein)
Manages patients for KOL & National Speaker Dr. Hassanein

 
 

OLYSIO SOVALDI

¥ +

 
 

to view Details)
63.84 145.99

Hassanein, Tarek
Call Objective — HCV Profiling. Probe to better understand current patient types, demographics and
general HCV needs. Offer Hep C Tear Sheets. Go over OLYSIO program resources: Doctor Discussion
Guide, Treatment Calendar, Care4Today App & Support Group Finder.

Previous Call Background/Continuum — Delivered Library Textbook & Katie stated they are using
spontaneous use of OLYSIO. Staff stated issues/hassle with authorizations for all Hep C treatments.

Call #4 — Dr. Donald Abrahm (Lunch from 12:45 — 1:45)
#2 IBD Biologic Volume Current 52 weeks for my Territory
Recently added as Simponi Speaker

   

SIMPONI UC HUMIRA REMICADE CIMZIA
484.91 0.00 16.51

OLYSsIO SOVALDI

Abrahm,Donald 24.53 7.56 30.82% 7.56 16.97

Call Objective — Probe to find out if patient is achieving clinical success. Probe to find out what
perceived advantages that Simponi offers? Probe to expand usage based on his clinical recent clinical
success w/Simponi. Leverage Mo. What can we do better to help support in his treatment on UC?
Previous Call Background/Continuum — Just put his 3" patient on Simponi and is using spontaneous use
of OLYSIO. Staff had difficulty with Simponi authorization (approval of 3 induction doses).

 
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Call #5 — Dr. John Hoefs
#6 HCV Market Volume Current 52 weeks for my Territory
KOL, Past Dir. of Hepatology at UCI, Getting Honored to 30yrs of Service treating Hep C at AASLD in Nov.

 
   
 

i oLysio SOVALDI
to view Details) ~*
Hoefs,John 260.61, 46.19% 120.38 140,22
Call Objective — Leverage Mo. Probe to find out how JSHI can best support him in the treatment of Hep
C. HVC Profiling. Probe to better understand current patient types, demographics and general HCV
needs. Remind him of OLYSIO Support Services ($25 per Fill & $25K including deductibles & Doctor
Discussion Guide, Treatment Calendar, Care4Today App & Support Group Finder.

Previous Call Background/Continuum — Did introduction call for Medical Director and MSL. Prior to that,
Dr. Hoefs, stated that his clinical expectation was SVR of 95%. Dr. Hoefs liked the OLYSIO Support
Services ($25 per Fill & $25k max.) & wants “prior authorization” help for staff.

 
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Exhibit 34

 
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From: Neuburg, Lisa [TTTUS]

Sent: Thursday, March 12, 2015 11:01 AM

To: Baird, Amy [TTTUS]; Damavandi, Bita [TTTUS]; DAVIE, WILLIAM [TTTUS]; Grant, Tyana
[TTTUS]; Jaisinghani, Manisha [COBIUS]; Lloyd, Ron H, [COBIUS}; Washington, Wilbur
[TITUS]

Subject: FW: Regional OLYSIO+sofosubvir Access Updates for week ending 2/27/15

Attachments: OLYSIO_Coverage Updates_Regional_2015-2-27.pdf

Hey, SWP—

Please review the following OLYSIO + sofosbuvir access updates. It looks like California Medicaid (FFS) has Olysio + sof on
formulary. Please forward on any information you have on this--and how the pull through is--for the LMS team.

Colorado Medicaid FFS does not cover OLYSIO + sof, unfortunately.
Arizona—| do not see a definitive access/coverage decision. Please let me know if one has been made.

Thank you!
Lisa

From: Field Communications [NAPharma]
Sent: Thursday, March 12, 2015 9:53 AM
Subject: Regional OLYSIO+sofosubvir Access Updates for week ending 2/27/15

OLYSIOg ~~

SIMEPREVIR

  

 

panies FIELD CON MUNCATIONS .
TO: Janssen Specialty — Hepatitis/Immunology Field Sales and SCG, with a copy to business partners

DETAILS: With the recent approval of the combination of OLYSIO + sofosbuvir, and as payers and PBMs
continue to review this combination, we will continue to update you on the status of National and Regional
plans as these updates come through. We recognize that while formulary criteria/tier and process to access
OLYSIO + sofosbuvir is similar to Harvoni for most Commercial and Part D lives, the overall burden of access
could be greater due to the need for approval of 2 agents, as part of 2 separate processes for your providers.
Please continue to follow brand direction and use all resources available to you all to continue to drive demand
on each call! Your iMap data was refreshed on 3/10 for your internal, pre-call planning purposes.

New! Fee For Service Medicaid plan status update and current summary of coverage. Effective dates noted on
update below and attached.

e Per current brand and SCG direction Medicaid is not a new focus nor is triple therapy in the current
field guidance. All discussion should remain aligned to current label.

e Please continue to focus on using the patient types identified for OLYSIO +sofosbuvir, along with
support resources, to drive new patient starts where appropriate.

e Thisis state, fee-for-service Medicaid, not managed Medicaid

 
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e Please note that coverage and policies can vary by state and that Medicaid patients are not eligible for
the $5 copay card assistance program

 
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OLYSIO*® ACCESS UPDATES’
Week Ending: February 27, 2015

» REGIONAL ACCESS UPDATES

OLYSIO +sofosbuvir Effective
Plan Name Channel Coverage Update Date

NEW! State Fee-for- Service

2 j j izati 2198)
Kentucky Medicaid Medicaid Preferred with Prior Authorization 2/2845

NEW!

California Medicaid
Canmectcut Medicaid
Fionda Medicaid
Georgia Medicaid
indiana Medicaid
Lousiana Medicaid
Matne Medicard

Massachusetts Medicaid State Fee-for-Service Covered imay include 228-15

Mississippr Medicaid og . ’
New Hampshire Medicard Medtcard Priar Authorization}

New York Medicaid
North Carolina

Ohio Medicatd
Pennsylvania Medicard
Rhode Island Medicaid
South Carolina
Vermont Medicard
West Virginia Medicaid

NEW!

Delaware Medicaid
Uhnois Medicaid
Missouri Medicaid
Tennessee Medicaid

State Foea-for-Service

j ‘ 29815
Medicaid Requires Step Therapy 2/28/15

NEW!

Colorado Medicaid

OC Medicaid

Maryland Medicaid

Michigan Medieard State Fee-for-Serice
Minnesota Medicaid Medicatd

Oklahoma Medicaid

Toxas Medicaid

Virgima Medicaid

Wisconsin Medicaid

re
ss
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Not Covered'Nonformulary

Recommended Actions
As part of each call, please continue to:
© Use all support and access avaiable to you Where an access loss has ucuuned, access indy be tigre
challenging to get OLYSIQ + sefosbuvir for patients wath certain insurance plans. but tomay sll
be possible through the prior authorization of exceptions and appeals process.
« Identify the plans where OLYSIO + selosbuvir is covered via Map as part of pre-call planning anc
Integrate this wte your averall access message wih your customers.

* Orive demand for appropriate patient types where covered

 

 
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Any questions, please reach out to Nithya Srinivasan

Nithya Srinivasan
Product Manager, Professional Marketing, Hepatitis

‘ecm,
janssen JO weer

Janssen Pharmaceuticals, Inc.
1125 Trenton-Harbourton Road
Titusville, NJ 08560

office: 609-730-7810

cell - 412-478-7496

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Exhibit 35

 
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| Making It Happen |
Writing Name: 12 Month | Key Patient Type Key Plans PA Staff Top Plan of Action
Nucynta SAO Message Pharmacies
Yes- weekly Breakthru Norepi Work comp Carla Jenny Assured/Hepps Bi-Weekly
calls/Speaking/Share
w/Tea
Yes- weekly 1122 Breakthru after Norepi BC/Cash/WP/ | Andrea/Daisy Cal Med Weekly calls/Speaking
vico/RSD/Fibro Medco
Yes-weekly 1036 Post surgical Norepi/Tolera | UHC/Work Janet Assured Weekly calls/Speaking
bility Comp/Cash
Yes Unreported { Breakthru instead of | Tolerability No Data Maria Newport Lida Weekly Calls
oxy/Less opioid
Yes Insurance driven- Cal} Toferability Cal Griselle Fountain Valley Weekly Calls
Opt Opt/cash/Med
icare
Yes (not on EV) 991 Breakthru after vico {Tclerability/Co}|WP/Medco/Ca Donna and Assured Weekly
before oxy/Fibro st sh Christine Calls/Lunches/Programs
Yes (not on EV) 915 Breakthru instead of | Tolerability {| Medco/Cash/ Jackie Assured/ Access /Need lunch again
Oo Wwe Newport Lido
Yes (not on EV) 889 CNS pain/Less opioid Norepi BC/WP/Medco Sherry Plaza Pharm Needs frequency
Yes (not on EV) 674 Breakthru instead of | Tolerability |Cash/UHC/Wo Self Santa Bi-weekly calls
_Oxy tk comp AnafTustin
Yes 624 Insurance Norepi WP/BC/Medic Richard Saddleback Weekly calls
driven/Breakthru/Les are Valley
sopioid
603 Work Med Towers Access/Carl working on
comp/PP0/HM
°
Yes-weekly 578 Breakthru and post Norepi Medco/WP/W] Angela/Karen- [Hill/Newport Ctr Weekly calls
op ork Comp Michelle
Yes 568 Breakthru/RSD Norepi HN/Medco/UH] = Karen/Alicia Access/Need lunch again
Cc
Yes-weekly 534 Breakthru/less Norepi 50% Work Glenda Assured/ Santa { Bi-weekly calls/Share with
aceta/less opioid Comp/no Hmo Ana Tus Phil
486 Fibromyalgia/neuro Norepi Monarch/smal] Louise/Charity Sea View Needs frequency
patients | Work Comp
440 Post-op instead of | Tolerability [PPO/Medicare| Michelle/Mike - Needs frequency/Carl
oxy ir- Hoag. PA working on
428 Elderly and Breakthru] Tolerability | WP/8C/Medic Richard Saddleback Waiting for Pouradib's
are Valley opinion
423 Work comp/instead | Tolerability 90% Work Tony Hill/Newport Working on Russ
of vico/no long acting Comp Ctr/Coast
403 Post-op pain Tolerrability Work Tower Access/Carl working on
comp/PPO/HM
oO
378 Breakthru instead of Norepi Work Andrea Cal Med/Med Needs frequency/Carl
oxy comp/PPO0/HM Towers working on
0
Yes-weekly 340 Breakthru/post-op Norepi Work Irma Tower Speaking
pain comp/PP0/HM
Oo
Yes 295 Breakthru instead of | Tolerability [| BC/Cash/WP/ Andrea Saddleback Arts Weekly calls
oxy Medco
291 Post-op pain Tolerability Work Tower Access/Carl working on
comp/PP0/HM
0
Yes-weekly 255 Breakthru/Neuro Noreip Medco/WP/WFE Angela/Karen- | Hill/Newport Ctr Speaking
pain ork Comp Michelle
Yes 235 Work comp/instead | Tolerability 90% Work Tony Hill/Newport Ctr Weekly calls
of vico/no long acting Comp
Yes-weekly Broad usage- based Norepi Work Andrea Pacific (no Speaking
on triaf comp/PP0/HM report}
0
Yes Breakthru Tolerability 70% work Giselle Assured Weekly calls
comp

 

 

 

 

 

 

 

 

 

 

 

 
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Breakthru instead of
oxy with Avinza and

Yes-weekly Tolerability

Tolerability

Tolerability
Tolerability

Tolerability

Tolerability

Insurance
- Op instead of
oxycontin and vico

Tolerability
Breakthru Norepi

Tolerability

Post -Op - plastic Tolerability

Tolerability

Tolerability

Tolerability

Norepi
Breakthru/limit Norepi

Post -Op Pain Tolerability

70% work
comp

Giselle

Lillian

PPO/Medicare Lilly
Marlene

Lindsay

Carolyn

30% Work Ashley

Work Leslie

HMO/Medicar

Dee-Dee
Dee-Dee

100% Work

 

Assured Weekly calls

Newport Coast Speaking

Has spoken/low valume
Increase frequency during

Oso Pharm Bi-weekly calls to maintain

Hill to intro
to intro
Assured Needs frequency-

Assured Needs frequency- share

with Diana
Needs reminding of
up on recent
Needs reminding of

Needs reminding of

Needs Frequency
Needs Frequency

Follow up on recent trial

 
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Exhibit 36

 
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Monday, January 09, 2012
Gerald Sacks, MD

2021 Sania Monica Blvd.
Suite 300E

Santa Monica, CA 90404
Dear Dr. Sacks:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Friday, January 27, 2012

Time: 6:00 PM

Location: Boa Steakhouse

9200 W. Sunst Boulevard
West Hollywood, CA 90069
Phone: (310) 278-2050
Meeting ID: 25883

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Jason Hamann

888-323-6700 Voicemail Ext: 8742

Email: jhamann@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1500.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

lf you need further assistance please do not hesitate to contact me.

Jill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Exhibit 37

 
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Monday, February 06, 2012
Lawrence Miller, MD

8641 Wilshire Blvd

Ste. 200

Beverly Hills, CA 90211
Dear Dr. Miller:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Wednesday, February 15, 2012
Time: 6:30 PM
Location: Sotto Restaurant
9575 W Pico Boulevard
Los Angeles, CA 90035
Phone: (310) 277-0210
Meeting ID: 27498
Meeting Contact
Should you need more information regarding this meeting, your representative is:
Paul Wexler

888-323-6700 Voicemail Ext: 4582
Cell Phone: (310)702-5118
Email: pwexler@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

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either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the
form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Jill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 49 of 85 Page ID #:428

February 28, 2008

Ellie Goldstein, MD

2021 Santa Monica Bivd

740-E

Santa Monica, CA 90404-2206

Dear Dr. Goldstein:

On behalf of Ortho McNeil™ and the Antibiotic Therapy Speakers Bureau, we are pleased to confirm your participation in
the following program:

Topic: Guidelines for the Management of Community-Acquired Pneumonia: Support for a new Treatment Paradigm
Date: Tuesday, March 18, 2008
Time: 7PM

Location: Valentino's Restaurant

Los Angeles, CA
Phone:
Meeting ID: 2687

Meeting Contact
Should you need more information regarding this meeting, your representative is:

Glen Moering
Voicemail: (888) 323-6700 Ext: 1784
Email: gmoering@ibius.jnj.com

Honoraria
For your participation, Ortho McNeil™ will provide an honorarium of $1500.00 for this program.

Travel
We understand that you will be making your own travel arrangements for this meeting and will be expensing any out of
pocket expenses to MedForce with the enclosed form.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance.
Please fill out the form completely and enclose original receipis.

Send the form and original receipts to:

Ortho McNeil™, Antibiotic Therapy Speakers Bureau
cio MedForce

20 Avenue at the Common, Suite 203

Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Doreen Babo

Project Manager

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8343

Fax: 732-389-9506

Email: dbabo@medforce.net

 
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Exhibit 39

 
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Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 51 of 85 Page ID #:430

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janssen J

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Thursday, April 19, 2012
Jonathan Nissanoff, MD
15525 Pomerado Rd., #E6
Poway, CA 92064

Dear Dr. Nissanoff:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate fo Severe Chronic Pain
Date: Wednesday, May 09, 2012
Time: 7:00 PM
Location: La Seine
14 N La Cienega Blvd
Beverly Hills, CA 90211
Phone: (310) 358-0922

Meeting ID: 26930

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Bita Damavandi

888-323-6700 Voicemail Ext: 7837

Cell Phone: (310)210-2482

Email: bdamavan@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $2500.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J

Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the
form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

lf you need further assistance please do not hesitate to contact me.

Michelle Trussell

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: (732) 380-8365

Fax: 732-389-9506

Email: mtrussell@medforce.net

 
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Exhibit 40

 
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Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 53 0f 85 Page ID #:432

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Janssen

where
Friday, February 17, 2012
William French, MD
Harbor-UCLA Medical Center
1000 W. Carson St
Torrance, CA 90509
Dear Dr. French:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

XARELTO® (rivaroxaban) for Reducing the Risk of Stroke and Systemic Embolism in Patients With Nonvalvular Atrial

Topic: Fibrillation

Date: Wednesday, March 07, 2012
Time: 6:30 PM

Location: Fig and Olive

8490 Melrose Place

Los Angeles, CA 90069
Phone: (310) 360-9100
Meeting ID: 25840

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Brian Katz

(888) 323-6700 Voicemail Ext: 1395

Cell Phone: (818) 652-7900

Email: bkatz1@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $2000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code SPAFMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Ann DelConte

Sr. Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 800-592-7609

Direct Line: 732-380-8352

Fax: 800-219-5079

Email: adeiconte@medforce.net

 
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Exhibit 41

 
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Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16° Page 55 of 85 Page ID #:434

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Janssen

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Thursday, May 31, 2012
Matthew Budoff, MD
1124 W Carson St.
Torrance, CA 90502
Dear Dr. Budoff:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

XARELTO® (rivaroxaban) for Reducing the Risk of Stroke and Systemic Embolism in Patients With Nonvalvular Atrial

Topic: Fibrillation

Date: Wednesday, June 27, 2012
Time: 6:30 PM

Location: Tanino

1043 Westwood Boulevard
Los Angeles, CA 90024
Phone: (310) 208-0444
Meeting ID: 30843

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Brian Katz

(888) 323-6700 Voicemail Ext: 1395

Cell Phone: (818) 652-7900

Email: bkatzi@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $2000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangemenis, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code SPAFMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangemenis.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring

either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the
form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Ann DelConte

Sr. Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 800-592-7609

Direct Line: 732-380-8352

Fax: 800-219-5079

Email: adelconte@medforce.net

 
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Janssen

wr tcbeectheen ,
Tuesday, November 22, 2011
Lawrence Miller, MD
8641 Wilshire Blvd
Ste. 200
Beverly Hills, CA 90211
Dear Dr. Miller:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Thursday, December 08, 2011

Time: 6:30 PM

Location: Boa Steakhouse

9200 W. Sunst Boulevard
West Hollywood, CA 90069
Phone: (3710) 278-2050
Meeting ID: 24065

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Jason Hamann

888-323-6700 Voicemail Ext: 8742

Email: jhamann@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1000.00 for this program.

Travel

if you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

 

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticals, inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

dill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Exhibit 43

 
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PriCara

September 15, 2008

Allan Metzger, MD, FACP, FACR
8737 Beverly Blvd.

Ste. 203

Los Angeles, CA 90048

Dear Dr. Metzger:

On behalf of PriCara® and the Chronic Pain Treatment Speakers Bureau, we are pleased to confirm your participation in
the following program:

Topic: Innovative Approach to Chronic Pain
Date: Thursday, September 18, 2008
Time: 7;00 PM

Location: Geisha House
6633 Hollywood Boulevard
Los Angeles, CA 90028
Phone: (323)460-6300
Meeting ID: 7127

Meeting Contact
Should you need more information regarding this meeting, your representative is:

Bita Damavandi
Voicemail: (888) 323-6700 Ext: 7837
Email: bdamavan@its.jnj.com

Honoraria
For your participation, PriCara® will provide an honorarium of $1000.00 for this program.

Travel
We understand that you will be making your own travel arrangements for this meeting and will be expensing any out of
pocket expenses to MedForce with the enclosed form.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance.
Please fill out the form completely and enclose original receipts.

Send the form and original receipts to:

PriCara®, Chronic Pain Treatment Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203

Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Colleen Smith

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8387

 
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Fax: 732-389-9506
Email: csmith@medforce.net

 
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Exhibit 44

 
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September 15, 2008

Gerald Sacks, MD

2020 Santa Monica Bivd.
Ste. 150

Santa Monica, CA 90404

Dear Dr. Sacks:

oho MeBee

Pri Ca

tora de

Page ID #:441

On behalf of PriCara®, Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc and the NEO Pathways Speakers Bureau, we are pleased to

confirm your participation in the following program:

Topic: NEO Pathways: New Directions in Pain
Date: Tuesday, October 21, 2008
Time: 7:00
Location: Katana
8439 West Sunset Blvd
West Hollywood, CA 90069
Phone: (323)650-8585

Meeting ID: 7130

Meeting Contact

Should you need more information regarding this meeting, your representative is:

Bita Damavandi
Voicemail: (888) 323-6700 Ext: 7837
E-mail: bdamavan@its.jnj.com

Honoraria

For your participation, PriCara® will provide an honorarium of $1500.00 for this program.

Travel

If you require travel, PriCara® will provide one round-trip (coach class) air or rail ticket, one night's hotel accommodations, ground transport
to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long distance to the meeting. To make your travel
arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide the code NeoMed along with your name, meeting ID,
date, & location of the meeting, and they will make your arrangements.

Expenses

Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the form

completely and enclose original receipts.
Send the form and original receipts to:

PriCara®, NEO Pathways Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Colleen Smith

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8387

Fax: 732-389-9505

Email: csmith@medforce.net

 
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@Ortho-McNeil-Janssen Pharmaceuticals, Inc. 2008 O2TLO8064

 
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Exhibit 45

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 “Page 65 of 85 Page ID #:444

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Janssen

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Thursday, April 12, 2012
Lawrence Miller, MD
8641 Wilshire Bivd

Ste. 200

Beverly Hills, CA 90211
Dear Dr. Miller:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Wednesday, April 18, 2012
Time: 7:00 PM
Location: IL Covo
8706 W 3rd Street
Los Angeles, CA 90048
Phone: 310-858-0020

Meeting ID: 26929

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Bita Damavandi

888-323-6700 Voicemail Ext: 7837

Cell Phone: (310)210-2482

Email: bdamavan@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticais, Inc. will provide an honorarium of $1000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring

either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and origina! receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Michelle Trussell

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: (732) 380-8365

Fax: 732-389-9506

Email: mtrussell@medforce.net

 
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Exhibit 46

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 “Page 67 of 85 Page ID #:446

Somme,

janssen

Puswuntevinins COMPARED

te fodonenrgolvean,

Tuesday, November 29, 2011
Lawrence Miller, MD

8641 Wilshire Blvd

Ste. 200

Beverly Hills, CA 90211

Dear Dr. Miller:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Thursday, December 08, 2011

Time: 6:30 PM

Location: Wolfgang's Steakhouse

445 North Canon Drive

Beverly Hills, CA 90210
Phone: (310) 385-0640
Meeting ID: 24065

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Jason Hamann

888-323-6700 Voicemail Ext: 8742

Email: jhamann@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. wil! provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangemenis.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring

either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Jill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Exhibit 47

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 69 of 85 Page ID #:448

 

From: Damavandi, Bita [TTTUS]

Sent: Thursday, January 22, 2015 3:04 PM

To: usa5919@fedex.com

Cc: Damavandi, Bita [TTTUS]; teavandi@yahoo.com
Subject: feb 12 dinner

Attachments: Invitation.pdf

Please print 10 invites on cardstock, in color.

Will be by in case any questions in 30 min.
Tea
310-210-2482

From: Sumner, Blaire [mailto:bsumner@medforce.net]

Sent: Thursday, January 22, 2015 7:07 AM

To: Damavandi, Bita [TTTUS]

Subject: PROGRAM CONFIRMATION: 2015 OLYSIOR Speakers Bureau: Meeting ID #68197: Thursday, February 12,
2015

Hi Tea-
You are all set at Cecconi’s. Attached is all the paperwork as well as the contract worked out with the venue. |
have ordered the screen from them, but will have the Laser and Advancer ordered and delivered from Tallen.

Thanks!
Blaire

 

Attached are the necessary documents for your upcoming Speaker's Bureau program listed below:
Meeting !D: 68197

Topic: A Clinical Overview of OLYSIO™ (simeprevir)
Date: Thursday, February 12, 2015
Time: 7:00 PM
Location: Cecconi's

8764 Melrose Ave

West Hollywood, CA 900689 (310) 432-2000
Speaker: Edward Mena, MD

Speaker Cell: (323) 365-8968
Please take a moment to review the attached documents, as they reflect the confirmed details for your program.

e Invitation
e HCC Sign in Sheet (to be faxed back to MedForce using the information at the bottom of the Sign in sheet)
e Copy of Speaker Confirmation Letter

If any information has changed, please contact MedForce as soon as possible.

As a reminder, per compliance guidelines, honoraria payment may not be released to the speaker until you have logged
onto www.janssenspeakerprograms.com to accurately record participating attendeesand fill out your online speaker
evaluation. Refer to Meeting ID# 68197.

 
~

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**IMPORTANT™ You will be responsible for adding your attendees directly into this meeting.

Please be sure to capture attendee names, addresses, specialties and degree so you can enter this
information online post program.

Please refer to the Resources tab on www.janssenspeakerprograms.com for tips on how to register and
record your attendees.

We anticipate your meeting will be a success and we thank you for your support. As always, if you have any questions,
please do not hesitate to contact me.

Blaire Sumner

Project Coordinator

MedForce

419 Avenue at the Common, Suite 7
Shrewsbury, NJ 07702

Phone: 888-735-7418

Direct Line: (732) 380-8721

Fax: (732) 389-9506

Email: bsumner@medforce.net

 
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Exhibit 48

 
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Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 72 0f 85 Page ID #:451

 

From: Sunny Lee

Sent: Thursday, August 20, 2015 8:12 PM

To: Thomas Carvette; Carolyn Crane; Chris Wanzie; Eric La Chance; Jackie Jones; Joseph
Wolfe; Justin Rhodes; Nancy Jodoin; Rakhee Batra; Robin Lee; Ryan Dillon; Tea’
Damavandi

Ce: Kathy Burke; Daniel McLaughlin

Subject: RE: PAP for Medicare patients under 400%

Thanks Tommy. Good work.

From: Thomas Carvette

Sent: Thursday, August 20, 2015 6:04 PM

To: Sunny Lee; Carolyn Crane; Chris Wanzie; Eric La Chance; Jackie Jones; Joseph Wolfe; Justin Rhodes; Nancy Jodoin;
Rakhee Batra; Robin Lee; Ryan Dillon; Tea’ Damavandi

Cc: Kathy Burke; Daniel McLaughlin

Subject: RE: PAP for Medicare patients under 400%

Exactly right, Sunny. If your HCP knows they have a government insured patients, it will make the triage to the PAP
pharmacy much easier and limit the contact with the office to confirm information if Section 5 is complete. Also, make sure
they sign 6 and 7.

Kind regards,
Thom

From: Sunny Lee

Sent: Thursday, August 20, 2015 8:28 PM

To: Carolyn Crane; Chris Wanzie; Eric La Chance; Jackie Jones; Joseph Wolfe; Justin Rhodes; Nancy Jodoin; Rakhee
Batra; Robin Lee; Ryan Dillon; Tea’ Damavandi

Ce: Kathy Burke; Daniel McLaughlin; Thomas Carvette

Subject: PAP for Medicare patients under 400%

FIF

! spent the day confirming and reconfirming the PAP process so here it is. This is for Medicare patients
who are under 400%.

We received reports and saw it first hand today in an office that patients will be triaged to PAP fairly quickly if we do the
following:

1) Make sure the patients fill out section 5 on the Enrollment form before it is submitted to MP which is their
stated income.

When MP runs the preliminary BI and sees that it is a Medicare patient they wiil then look to Section 5 and see the
patient’s income. If it is below the 400% poverty line then they will get PAP. There will be no reason to run a Medical
Exception on these patients.

Let me know if you have questions.

Thanks,

 
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Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 73 0f 85 Page ID #:452

Sunny Lee

District Manager || West
Cardiometabolic Field Access
949-940-5916

Sunny.lee@ repeneron.com

 
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Exhibit 49

 
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THERAPEUTICS
DIVISION OF ORTHO BIOTECH PRODUCTS, LP.

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Totality ;

TOTALITY Field Business Expense Request Form
(for non-American Express expenses)
Instructions: Complete form and mail or fax to your Regional Office Coordinator (ROC) or Field Administrative

Assistant, along with ALL supporting documents as required in the “Checklist” portion below. Note that items
shown in gray are default choices required by TOTALITY and do not require your input.

 

  
 

    

 

Type: Business Expense - Field Program Description:

Support professional and patient focused educational
Sub Type (Type of Expense / Service): programs that educate liver weilness, disease prevention,
Marketing Sponsorship/Corporate Membership youth liver health, fatty liver, managing medications and

treatment choices.
Are you paying a third party supplier? No
Therapeutic Area: Virology - General
Authorized BU: TT - 250T
Substance: ---------------—--
Transaction Title (Name of Event):
2015 Healthy Flavors of Coronado / American Liver Year Majority of Activity Completed: 2015
Foundation
Is there a publication planned or anticipated as part
of this transaction? No

 

    

hee

Contact Name: Michele Demotto

 

 

Payee / Associated HCP Name:
American Liver Foundation
Contact Phone: 619-291-5483
Payee / Associated HCP Address:

American Liver Foundatio; Pacific Coast & Hawaii Email Address: Mdemotto@liverfoundation.org
Division

2515 Camino del Rio South, Tax ID**: XX-XXXXXXX

Suite 122,

San Diego, CA 92108 Gov Affiliation? No

Payee Amount: $4000 NIH Affiliation? ------------—------

(Note: TOTALITY only accepts whole dollar amounts)

Text for Check Memo Field: (max 20 characters)
2015 Healthy Flavors of Coronado

 

 

 

 

 

 

 
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DIVISION OF ORTHO BIOTECH PRODUCTS,LP.

 

 

Totality _

Date the FDA, OIG, and EPLS exclusion lists were checked to assure the Payee or Associated HCP is not
excluded: (The ROC will conduct exclusion list searches and indicate the date these were performed)

 

if the Supplier/Payee is a 3rd party, who will be responsible for performing the following checks FDA
debarment, OIG & EPLS exclusion, Gov affiliation, NIH affiliation? N/A

 

 

 

   

 

 

Name: Amy Baird WWID: 1037632

Dept: JSHI Direct Supervisor Name: Tyana Grant /Mohammed Issa
Phone: 619-621-7730 RDT #: 5521416
E-mail: abaird7 @its.jnj.com Reason for Requesting via TOTALITY:

1 Greater than $1,000 Expense
{_] Institution does not take American Express
["] Other (Explain)

 

 

 

To be compieted by ROC / Field Administrative Assistant:

Company Code Cost Center: Cost Element:

 
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DIVISION OF ORTHO BIOTECH PRODUCTS, LP,

 

 

 

 

 

General Notes:

« Appropriate Field Business Expenses that do not exceed $1,0000.00, where Corporate American Express is
accepted, should be submitted by the Field Representative through gXRS. All supporting documentation
outlined in this checklist should be attached to corresponding gXRS Expense report

« Appropriate Field Business Expenses that exceed $1,000.00, or where Corporate American Express is not
accepted, should be submitted (by fax or e-mail) to your ROC or Field Administrative Assistant via this Field
Business Expense form. The ROC / Field Administrative Assistant will enter the details of the Field Business
Expense into TOTALITY and process the transaction. All supporting documentation outlined in this check list
should be aitached by the field representative when submitted to the ROC via this Field Business Expense
form, and all submitted documents, including this form, will be submitted with the TOTALITY request

 

 

 

 

 

Advertisement
«Signed Letter of Request on organization’s letterhead should include:
o Documentation of what promotional opportunities OBI/TT is receiving
o Amount requested
o Year the majority of activity will occur
*  OBI/TT Initiator must ensure that this business expense is related to supporting a disease state or community
initiative that is of interest to OBI/TT

Credentialing Fees
= Signed Letter of Request on organization's letterhead should include:
o Detailed documentation of what OBI/TT is receiving, e.g. access to facilities, product formulary, etc.
o Amount requested
o Year the majority of activity will occur
* Application and other relevant documents must be submitted for HCC (and legal, as needed) review

Display Fee:
«Signed Letter of Request on the organization’s letterhead should include:
o Amount requested
o Date and location of program
o Title and description of program or event
«  OBI/TT Initiator must ensure that this business expense is related to supporting a disease state or community
initiative that is of interest to OBI/TT

Marketing Sponsorship/Corporate Membership

"Signed Letter of Request on organization’s letterhead should include:
o Documentation of what OBI/TT is receiving for this membership/sponsorship
o Amount requested
o Year the majority of activity will occur

=  OBI/TT Initiator must ensure that this business expense is related to supporting a disease state or community

initiative that is of interest to OBI/TT
= Corporate Memberships may only be submitted by the SCG organization

 

 

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 78 of 85 Page ID #:457

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DIVISION OF ORTHO BIOTECH PRODUCTS, LP.

 

 

 

 

 

 

Membership/Meeting Registration - Individual:

« Signed Letter of Request on organization's fetterhead should include:

o Documentation of what the OBI/TT employee is receiving, and the period covered, for this
membership/registration

o Amount requested

" QOBI/TT Initiator must submit the completed application with this form for TOTALITY processing

= OBI/TT Initiator must ensure that this business expense is related to supporting a disease state or community

initiative that is of interest to OBI/TT

 

 

 
 

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Exhibit 50
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 800f 85 Page ID #:459

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From: Baird, Amy [TTTUS]

Sent: Friday, December 12, 2014 4:19 PM

To: Damavandi, Bita [TTTUS]

Ce: Issa, Mohamed [TTTUS]

Subject: American Liver Foundation - Sponsorship Request
Attachments: ALF Biz Expense form.doc; ALF_Letter of Request.docx
Tea,

Here’s the American Liver Foundation sponsorship request for 3/15/2015 on Coronado. Attached is the letter of request
from the organization and the internal funding request.

Thanks for setting in on the path for review.

Amy J. Baird

Sr. Immunology & Hepatology Specialist
Mobile: (619) 621-7730

Email: abaird7@its.jnj.com

Janssen Specialty

Division of Janssen Biotech, Inc.
1125 Trenton-Harbourton Rd
Titusville, NJ 08560

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Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 81 0f 85 Page ID #:460

Exhibit 51
Case 2:16-cv-06997-RGK-RAO Document 1-4 Filed 09/16/16 Page 82 of 85 Page ID #:461

seeee” a

From: Wojecki, David [TTTUS]

Sent: Thursday, December 18, 2014 5:39 AM

To: Williams, Alan [COBIUS]

Cec: Egan, Stephen [TITUS]; Damavandi, Bita [TTTUS]; Wolfe, Lynn [TTTUS]; Issa, Mohamed
{TTTUS]

Subject: Re: HCV Speaker Program - Saab

Alan,

Thanks for sharing this important feedback with everyone. We don't have him scheduled.

To your point right now is a time to check in with our speakers to evaluate where they're at and are will support when
asked how they'll use OLYSIO.

Dave

Sent from my iPad

On Dec 17, 2014, at 10:46 PM, Williams, Alan [COBIUS] <AWilli14@its.jnj.com> wrote:

All:

Have any of you had any recent OLYSIO™ programs with Dr. Sammy Saab out of LA? tf so, what was your
experience? | was disappointed to hear from Kara Ginney that he did not present a very favorable
picture of OLYSIO™ + sofosbuvir at her talk in Modesto last night; in fact, he very plainly stated that
Harvoni was his go-to drug, he downplayed several potential patient types in which OLYSIO™ +
sofosbuvir might be appropriate, and in general did not seem very positive on the regimen. |’d caution
any of your team to consider a different speaker for any upcoming programs.

This was especially disappointing for me given that he had done an excellent job earlier in the year of
presenting OLYSIO™ triple therapy in Seattle.

Thoughts?
Alan

W. Alan Williams

District Manager, Pacific Northwest
Janssen Specialty, Hepatitis/Immunology
Janssen Therapeutics, Inc.

Cell: (267) 521-2526

Janssen Pharmaceutical Companies of Johnson & Johnson

Confidentiality Notice: This e-mail transmission may contain confidential or legally privileged information that is
intended only for the individual or entity named in the e-mail address. If you are not the intended recipient, you are
hereby notified that any disclosure, copying, distribution or reliance upon the contents of this e-mail is strictly
prohibited. If you have received this e-mail transmission in error, please reply to the sender, so that Janssen can
arrange for proper delivery, and then please delete the message from your inbox. Thank you.
Case 2:16-cv-06997-RGK-RAO DocumevwittoverRsaAgEPo/16/16 Page 83 0f 85 Page ID #:462

I. (a) PLAINTIFFS ( Check box if you are representing yourself [_] )
UNITED STATES OF AMERICA ex rel. ALEXANDER VOLKHOFF, LLC

 

DEFENDANTS = ( Check box if you are representing yourself |] )

JANSSEN PHARMACEUTICA N.V., JANSSEN PHARMACEUTICALS, INC., and JANSSEN
RESEARCH & DEVELOPMENT, LLC, JOHNSON & JOHNSON, and ORTHO-MCNEIL

 

(b) County of Residence of First Listed Plaintiff Los Angeles, CA
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant 0s Angeles, CA

(IN U.S. PLAINTIFF CASES ONLY)

 

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Mychal Wilson SBN 236189, The Law Office of Mychal Wilson

2425 W. Olympic Blvd., Suite 4000-W, Santa Monica, CA 90404

Telephone: (424) 252-4232

Facsimile: (310) 424-7116

Il. BASIS OF JURISDICTION (Place an X in one box only.)

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

 

 

IH. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

. PTF DEF Principal PI PTF DEF
1. U.S. Government 3. Federal Question (U.S. Citizen of This State Chi C1 Incorporated or Principal Place rata
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [-] 2 [[] 2_ Incorporated and Principal Place [15 (15
* F ‘i - : of Business in Another State
2. U.S. Government C] 4. Diversity (Indicate Citizenship _|Citizen or Subject of a 3 (3: Foreign —— oe.

Defendant of Parties in Item III) Foreign Country

 

IV. ORIGIN (Place an X in one box only.)

1. Original
Proceeding

CL]

2. Removed from
State Court

L

3. Remanded from
Appellate Court

L]

4, Reinstated or
Reopened

L

5. Transferred from Another
District (Specify)

6. Multidistrict
Litigation -
Transfer

L

8. Multidistrict
Litigation -
Direct File

O

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [| No
CLASS ACTION under F.R.CVv.P. 23:

Federal False Claims Act §§ U.S.C. 3729, et seq.

[ ]Yes No

(Check "Yes" only if demanded in complaint.)

MONEY DEMANDED IN COMPLAINT: $ 1-000,000.00
Vi. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

VII. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[7] 375 False Claims Act [_] 110 Insurance [_] 240 Torts to Land g peat aaalization Habeas Corpus: [-] 820 Copyrights
: i 245 Tort Product 463 Alien Detainee 830 Patent

376 Qui Tam L] 120 Marine LI Liability Oj 510 Motions to Vacate H aren

(31 USC 3729(a)) Oo 465 Other oO
a [-] 130 Miller Act [-] 290All Other Real Immigration Actions Sentence [_] 840 Trademark

[ 100 State 140 Negotiable Property TORTS [_] 530 General SOCIAL SECURITY

Reapportionment CJ Instrument TORTS PERSONAL PROPERTY |[_]| 535 Death Penalty [_] 861 HIA (1395ff)
[] 410 Antitrust 16fl Reeve oe [] 370 Other Fraud Other: [7] 862 Black Lung (923)
[1] 430 Banks and Banking [LE eet of aieAwplane [[] 371 Truth in Lending |[] 540 Mandamus/Other |[~ 63 DIWC/DIWW (405 (g))
g 450] Gominerasiiec Judgment CI] Product Liability Fy 380 Other Personal {LJ 550 Civil Rights [-] 864 SSID Title xvi
[[] 460 Deportation [_] 151 Medicare Act oO 320 peau Libel & Property Damage 555 Prison Condition [7] 865 ASI (405 (g))

Slander a .
Detainee

470 Racketeer Influ- 152 Recovery of ' 385 Property Damage 560 Civil
‘i enced &Corrupt Org. |[_] Defaulted Student - habe Employers’ |L] Product Liability Congiitions of FEDERAL TAX SUITS
Fj 2901 Gioniswnies Chet Loan (Excl. Vet.) Cy aaoMarine BANKRUPTCY Con alia |r 870 Taxes (US. Plaintiff or
[1] 490 Cable/Sat TV 153 Recovery of 345 Marine Product |[[] 422Appeal 28 FORFERURE TS Defendant)

Overpayment of |[] [iapiti USC 158 625 Drug Related Og 871 IRS-Third Party 26 USC

gO 850 Securities/Com- Vet. Benefits ty 423 Withdrawal 28 | Seizure of Property 21 7609

modities/Exchange 160 Stockholders! |LJ 350 Motor Vehicle LJ usc 157 USC 881

890 Other Statutory CI suits ry 2 Motor Vehicle CIVIL RIGHTS [-] 690 Other
LJ Actions Product Liability hercioll Rial LABOR
[1] 891 Agricultural Acts |LJ a ae [360 Other Personal 5 440 Other Civil Rights 710 Fair Labor Standards

; Injury 441 Voting
‘ Act
Oo lala O 1 ae oO ea cera Injury- [] 442 Employment q 790 Labor/Mgmt
roduct Liability ed Malpratice : .

895 Freedom of info. : ; 443 Housing/ Relations
Cl 196 Franchise 365 Personal Injury- |[_] .

Act O LI Product Liability Aecommoacations [[] 740 Railway Labor Act
[] 896 Arbitration REAL PROPERTY 367 Health Care/ 445 American with .

751 Family and Medical
210 Land Pharmaceutical [-] Disabilities- O y
899 Admin. Procedures i O ; Employment Leave Act
: Condemnation Personal Injury
[_] Act/Review of Appeal of Product Liabili 446 American with 790 Other Labor
Ft [_] 220 Foreclosure ty Oo CL]

Agency Decision ~ 368 Asbestos Disabilities-Other Litigation

950 Constitutionality of 230 Rent Lease & P lInj : 791 Employee Ret. Inc.
C] State Statutes O Ejectment eT tag O 448 Education O Security Act

 

 

 

FOR OFFICE USE ONLY:

Case Number:

 

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Tb 0699 7-RAL-RADK

 
Case 2:16-cv-06997-RGK-RAO Docum@tiredévek speeq9/16/16 Page 840f 85 Page ID #:463

VIE. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?

L] Yes No

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

 

 

 

["] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[-] Orange Southern
(_] Riverside or San Bernardino Eastern

 

 

 

QUESTION B: Is the United States, or
‘one of its agencies or employees, a
PLAINTIFF in this action?

fy] Yes [_] No

if "no," skip to Question C. If "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co,?

—>

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2,

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—

Oj

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[] Yes No

If "no," skip to Question D. if "yes," answer
Question C.1, at right.

C.1, Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

=>

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—>

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

 

 

 

 

 

[] Enter "Western" in response to Question E, below, and continue
from there.
A. B. C.
. eae Riverside or San Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants? Orange County Bernardino County | Santa Barbara, or San
Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.) L LJ
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices | [|
apply.

 

 

[_] Yes

D.1. Is there at least one answer in Column A?

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[x] No

—

D.2. Is there at least one answer in Column B?

[] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter “Western” in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initia! division determined by Question A, B, C, or D above: m-

WESTERN

 

 

QUESTION F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

 

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Case 2:16-cv-06997-RGK-RAO Docunt@witoverda@cepo/16/16 Page 850f 85 Page ID #:464

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [] YES

if yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

 

If yes, list case number(s):

NO [1 YES

 

Civil cases are related when they (check all that apply):

| A. Arise from the same or a closely related transaction, happening, or event;

[| B. Call for determination of the same or substantially related or similar questions of law and fact; or

[_] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[| A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

Notice to Counse!/Parties: The submission of this Ci¥it Cover Sheet]
neither replaces nor supplements the filing and servic

we aa — DATE:

 

 

 
  
 

quired by Local Rule 3-1. This Form CV-71 and the infoimation contained herein
ifigs or other papers as required by law, except as provided by local rules of court. For

more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SsID
865 RSI

Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All ciaims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

CVT inwiies.

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